     Case 1:20-cv-05233-SEG                  Document 115-2              Filed 01/18/24          Page 1 of 25
                                                                                                       Exhibit 1
                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 14..17
                                                    Page 14                                                       Page 16
·1· ·But if you need a break for any reason other than,       ·1· · · · ·Q.· ·Okay.· How many -- how many siblings?
·2· ·you know, those regular breaks, just let me know and     ·2· ·How many brothers and sisters do you have?
·3· ·we'll just make sure that there's not a question         ·3· · · · ·A.· ·I have four brothers and one sister.
·4· ·pending.· If there's a question out there, answer the    ·4· · · · ·Q.· ·And where do they live now?
·5· ·question, and then we can take a break.                  ·5· · · · ·A.· ·Well, my older brother is dead.· My
·6· · · · · · · Okay?                                         ·6· ·little sister stays with my cousin and then two of my
·7· · · · ·A.· ·Okay.                                         ·7· ·little brothers stay with their dad, and the
·8· · · · ·Q.· ·All right.· So we'll go slowly so this        ·8· ·youngest, he stays with his grandmother.
·9· ·should be -- be pretty straightforward.                  ·9· · · · ·Q.· ·Is that all in the Atlanta area?
10· · · · · · · So, Ms. Grimes, where do you presently        10· · · · ·A.· ·No.
11· ·live?· What's your residence address?                    11· · · · ·Q.· ·Okay.
12· · · · ·A.· ·230 Bill Kennedy Way Southeast, Atlanta,      12· · · · ·A.· ·But it is all in Georgia, though.
13· ·Georgia 30316.                                           13· · · · ·Q.· ·Okay.· And do you have any children?
14· · · · ·Q.· ·And how old are you?                          14· · · · ·A.· ·Yes, ma'am.
15· · · · ·A.· ·I just turned 21.                             15· · · · ·Q.· ·Okay.· You have a daughter, I believe
16· · · · ·Q.· ·And what is your birthday, please?            16· ·I --
17· · · · ·A.· ·January 28th, 2002.                           17· · · · ·A.· ·Yes, ma'am.
18· · · · ·Q.· ·So you really did just turn 20 -- 21?         18· · · · ·Q.· ·Okay.· And what is her name?
19· · · · ·A.· ·Yes, ma'am.                                   19· · · · ·A.· ·Londyn Grimes.
20· · · · ·Q.· ·Well, happy birthday.                         20· · · · ·Q.· ·And that's L-O-N-D-Y-N?
21· · · · ·A.· ·Thank you.                                    21· · · · ·A.· ·Yes, ma'am.
22· · · · ·Q.· ·And where were you -- where were you          22· · · · ·Q.· ·And how old is Londyn?
23· ·born?                                                    23· · · · ·A.· ·She just turned five.
24· · · · ·A.· ·In Decatur, Georgia.· So DeKalb County.       24· · · · ·Q.· ·What is her birthday?
25· · · · ·Q.· ·Okay.· And where did you grow up?· Did        25· · · · ·A.· ·February 1st.

                                                    Page 15                                                       Page 17
·1· ·you grow up in -- in DeKalb County?                      ·1· · · · ·Q.· ·So she literally just turned five?
·2· · · · ·A.· ·Yes.· Before I moved in with my aunt, and     ·2· · · · ·A.· ·She just turned five too, yes.
·3· ·then I grew up in Conyers, Georgia.                      ·3· · · · ·Q.· ·Okay.· Well, happy birthday to her too.
·4· · · · ·Q.· ·Okay.· And what is your aunt's name?          ·4· · · · ·A.· ·Thank you.
·5· · · · ·A.· ·Claudette Grimes.                             ·5· · · · ·Q.· ·And so she was -- what year was she born?
·6· · · · ·Q.· ·And she lives in Conyers?                     ·6· · · · ·A.· ·2018.
·7· · · · ·A.· ·Covington now.· Covington, Georgia.           ·7· · · · ·Q.· ·2018.
·8· · · · ·Q.· ·Okay.· So did you -- when you lived with      ·8· · · · · · · Okay.· And so how old were you when you
·9· ·her, did you live in Conyers?                            ·9· ·had Londyn?
10· · · · ·A.· ·Yes, ma'am.                                   10· · · · ·A.· ·I had just turned 16.
11· · · · ·Q.· ·Okay.· And how old were you when you          11· · · · ·Q.· ·And who is Londyn's father?· His -- her
12· ·moved in with your aunt?                                 12· ·biological father?
13· · · · ·A.· ·I was eight.                                  13· · · · ·A.· ·Like his name?
14· · · · ·Q.· ·And before that, who did you live with?       14· · · · ·Q.· ·Yes.
15· · · · ·A.· ·My mom.                                       15· · · · ·A.· ·Ibrahim Mahdi.
16· · · · ·Q.· ·Okay.· And what's your mom's name?            16· · · · ·Q.· ·What's the last name?
17· · · · ·A.· ·Lashanda Spencer.                             17· · · · ·A.· ·Mahdi, M-A-H-D-I.
18· · · · ·Q.· ·Okay.· When -- would you spell her first      18· · · · ·Q.· ·Okay.· Is Mr. Mahdi someone you were in a
19· ·name, please?                                            19· ·relationship with when you -- when you conceived
20· · · · ·A.· ·L-A-S-H-A-N-D-A, Spencer, S-P-E-N-C-E-R.      20· ·Londyn?
21· · · · ·Q.· ·Okay.· Great.                                 21· · · · ·A.· ·Yes, ma'am.
22· · · · · · · And did you live with anyone else when        22· · · · ·Q.· ·Okay.
23· ·you were living with your mom?                           23· · · · ·A.· ·Yes, ma'am.
24· · · · ·A.· ·Yeah.· Like, cousins and I had other          24· · · · ·Q.· ·Okay.· All right.· And does Londyn
25· ·siblings as well.                                        25· ·currently live with you?


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     Case 1:20-cv-05233-SEG                  Document 115-2              Filed 01/18/24          Page 2 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 18..21
                                                    Page 18                                                       Page 20
·1· · · · ·A.· ·No.· She currently stays with my aunt.        ·1· · · · ·A.· ·Yes, ma'am.
·2· · · · ·Q.· ·Okay.· So, Ms. Grimes, in the lawsuit         ·2· · · · ·Q.· ·All right.· Can you tell me when is the
·3· ·that brings us here today, you have -- I'm going to      ·3· ·first time you were traffic- -- trafficked at United
·4· ·call my client United Inn.                               ·4· ·Inn?
·5· · · · · · · Okay?                                         ·5· · · · ·A.· ·An exact date?
·6· · · · · · · You have sued United Inn concerning           ·6· · · · ·Q.· ·If you know it.
·7· ·allegations that you were trafficked for sex at          ·7· · · · ·A.· ·It was like October 7th or the 8th.
·8· ·United Inn; is that correct?                             ·8· · · · ·Q.· ·Of what year?
·9· · · · ·A.· ·Correct.                                      ·9· · · · ·A.· ·2018.
10· · · · ·Q.· ·Okay.· And just to confirm what I -- what     10· · · · ·Q.· ·Had you been trafficked anywhere before
11· ·I think is the case, your lawsuit involving Stone        11· ·you were trafficked at United Inn?
12· ·Mountain Inn & Suites, did you, in that lawsuit,         12· · · · ·A.· ·The Stone Mountain Inn.
13· ·contend that you were trafficked for sex at Stone        13· · · · ·Q.· ·Okay.· So where -- let me back up, then.
14· ·Mountain Inn & Suites?                                   14· · · · · · · Where is the first place you were -- you
15· · · · ·A.· ·Yes, ma'am.                                   15· ·were trafficked?
16· · · · ·Q.· ·Okay.· Is there anyplace else, other than     16· · · · ·A.· ·The Stone Mountain Inn.
17· ·United Inn and Stone Mountain Inn, where you have        17· · · · ·Q.· ·Okay.· And when was that?
18· ·been trafficked for sex?                                 18· · · · ·A.· ·2018 as well.
19· · · · ·A.· ·No, ma'am.· I mean, it was another hotel,     19· · · · ·Q.· ·Okay.· Do you know approximately a date
20· ·but I can't think of the name of the hotel because it    20· ·or a month?
21· ·was a day -- it was like one day.                        21· · · · ·A.· ·Like a couple of months beforehand,
22· · · · ·Q.· ·One day?                                      22· ·like -- but I'm not sure of the exact.
23· · · · ·A.· ·Yes, ma'am.                                   23· · · · ·Q.· ·A couple months before the October of
24· · · · ·Q.· ·Any others?                                   24· ·2018?
25· · · · ·A.· ·No, ma'am.                                    25· · · · ·A.· ·Yes.· Really maybe like the month before

                                                    Page 19                                                       Page 21
·1· · · · ·Q.· ·Okay.· The one other hotel that you --        ·1· ·actually so --
·2· ·you are saying you can't remember the name of it; is     ·2· · · · ·Q.· ·Okay.
·3· ·that right?                                              ·3· · · · ·A.· ·-- August.· July, August, September,
·4· · · · ·A.· ·Yes, ma'am.                                   ·4· ·October.
·5· · · · ·Q.· ·Okay.· Do you know where that hotel is        ·5· · · · ·Q.· ·Okay.
·6· ·located?                                                 ·6· · · · ·A.· ·Yeah, the month before.
·7· · · · ·A.· ·Yes, ma'am.· It was on Memorial Drive as      ·7· · · · · · · THE REPORTER:· The month before you
·8· ·well.                                                    ·8· · · · said?
·9· · · · ·Q.· ·Okay.· If you drove by it, would you          ·9· · · · · · · THE WITNESS:· Yes, sir.
10· ·recognize it?                                            10· · · · · · · THE REPORTER:· Okay.· Thank you.
11· · · · ·A.· ·Yes, ma'am.                                   11· · · · · · · MS. RICHENS:· Yeah, speak up just --
12· · · · ·Q.· ·Okay.· Do you know how far it is from the     12· · · · · · · THE WITNESS:· Can you not hear me?
13· ·United Inn?                                              13· · · · · · · MS. RICHENS:· No, he -- I can't hear
14· · · · ·A.· ·It's on the same strip.· It's just --         14· · · · you very well -- I mean, I can hear you
15· ·sorry.                                                   15· · · · okay because I am sitting pretty close to
16· · · · ·Q.· ·That's okay.                                  16· · · · you, but he's -- he's probably having more
17· · · · ·A.· ·It's on the same strip.· It's just like       17· · · · trouble hearing you.
18· ·further up, like, the street, if that makes sense.       18· · · · · · · So if you don't mind speaking up and
19· · · · ·Q.· ·Okay.· Is it on the same side of the          19· · · · he's not -- he's not picking up the
20· ·street?                                                  20· · · · microphone.· That's just for the record.
21· · · · ·A.· ·Yes, ma'am.                                   21· · · · So...
22· · · · ·Q.· ·Okay.· Now, Ms. Grimes, I want to ask you     22· · · · · · · THE WITNESS:· Okay.
23· ·about how it came to be that you were trafficked at      23· ·BY MS. RICHENS:
24· ·the United Inn.                                          24· · · · ·Q.· ·All right.· So in the -- all right.
25· · · · · · · Okay?                                         25· · · · · · · So Stone Mountain Inn is the first place


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     Case 1:20-cv-05233-SEG                  Document 115-2              Filed 01/18/24          Page 3 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 26..29
                                                    Page 26                                                       Page 28
·1· · · · ·A.· ·Correct.                                      ·1· · · · ·Q.· ·Okay.· Now, what are the names of the two
·2· · · · ·Q.· ·Then in October, you were trafficked by       ·2· ·men that you said you were trafficked by at United
·3· ·Shaq at the United Inn; correct?                         ·3· ·Inn?
·4· · · · ·A.· ·Well, no, it wasn't --                        ·4· · · · ·A.· ·Cash and King.
·5· · · · ·Q.· ·So is that right, or did I --                 ·5· · · · ·Q.· ·Cash?
·6· · · · ·A.· ·No.· I wasn't trafficked by Shaq at the       ·6· · · · ·A.· ·Uh-huh.
·7· ·United Inn.· It was two other men.· But my first time    ·7· · · · ·Q.· ·C-A-S-H.
·8· ·going to the United Inn, it was through somebody I       ·8· · · · · · · And King --
·9· ·met through Shaq.· That's how I ended up there.          ·9· · · · ·A.· ·Uh-huh.
10· · · · ·Q.· ·Okay.                                         10· · · · ·Q.· ·-- K-I-N-G?
11· · · · ·A.· ·And we were working for Shaq, but he          11· · · · ·A.· ·K-I-N-G.
12· ·wasn't my actual trafficker at the United Inn.           12· · · · ·Q.· ·Okay.· Okay.· You don't know their real
13· · · · ·Q.· ·Okay.· When you say you -- you were           13· ·names, or do you?
14· ·working for Shaq, what does that mean?                   14· · · · ·A.· ·One of their names is in the police
15· · · · ·A.· ·Making money for him.                         15· ·report as well, but I can't think of it by heart.
16· · · · ·Q.· ·Okay.· But -- so I thought you -- I           16· ·And the other one, I just never got his real name.
17· ·thought I just heard you say when you got -- when you    17· · · · ·Q.· ·Okay.· Which one -- if you know, which
18· ·first went to the United Inn, you were working for       18· ·one's real name is in the police report?
19· ·Shaq, but you weren't being trafficked by him; is        19· · · · ·A.· ·Cash.
20· ·that right?                                              20· · · · ·Q.· ·Okay.· All right.
21· · · · · · · Is that what you said?                        21· · · · · · · And -- and so you met Cash and King
22· · · · ·A.· ·No, that's not what I said.                   22· ·though Kevy?
23· · · · ·Q.· ·Okay.· I'm sorry.                             23· · · · ·A.· ·No.· So I met them around the -- at the
24· · · · ·A.· ·I said -- I said Shaq wasn't my two           24· ·hotel.· So Kevy -- the same day that Kevy had took me
25· ·traffickers, because you're trying to say, like, Shaq    25· ·to the hotel, she had ended up leaving for something.

                                                    Page 27                                                       Page 29
·1· ·was my trafficker at the United Inn.                     ·1· ·Something had happened, and she left, and she didn't
·2· · · · ·Q.· ·Okay.                                         ·2· ·come back, and I was still at the room.· They left me
·3· · · · ·A.· ·He wasn't.· It was two other men.             ·3· ·at the room.
·4· · · · ·Q.· ·Okay.                                         ·4· · · · · · · So the next day, the following day,
·5· · · · ·A.· ·But my first time going, it was to make       ·5· ·they're -- you know, like, it's time to check out the
·6· ·money for Shaq, but Shaq wasn't with us at the time.     ·6· ·room.· I didn't have nowhere to go at the time, so
·7· ·Shaq had just got locked up.                             ·7· ·I'm trying to get in contact with the girl who
·8· · · · ·Q.· ·Okay.                                         ·8· ·dropped me off, and I had ended up meeting King.
·9· · · · ·A.· ·That's why this girl had came on his          ·9· ·That's when I had met King at the hotel.
10· ·behalf.                                                  10· · · · ·Q.· ·So you met Cash and King at the hotel?
11· · · · ·Q.· ·Okay.                                         11· · · · ·A.· ·Correct.
12· · · · ·A.· ·But he wasn't present, you -- if that         12· · · · ·Q.· ·And you went to the hotel to be sex
13· ·makes sense, because he was locked up.                   13· ·trafficked; is that --
14· · · · ·Q.· ·It does make sense.· It does make sense.      14· · · · ·A.· ·No.
15· · · · ·A.· ·So...                                         15· · · · ·Q.· ·Okay.· Why did you go to the hotel?
16· · · · ·Q.· ·Thank you.                                    16· · · · ·A.· ·Because Kevy said Shaq wanted us to go to
17· · · · ·A.· ·Yes, ma'am.                                   17· ·the hotel, so I am listening to what they're saying.
18· · · · ·Q.· ·Okay.· Now, so was it -- was it Kevy who      18· · · · ·Q.· ·Okay.· But did you understand that's why
19· ·took you to the United Inn?                              19· ·you would be going there?
20· · · · ·A.· ·Yes, ma'am.                                   20· · · · ·A.· ·Yeah, to work for Shaq.· I knew we were
21· · · · ·Q.· ·Okay.· You didn't choose the United Inn?      21· ·about to make money for Shaq, yes, ma'am.
22· · · · ·A.· ·No, ma'am.                                    22· · · · ·Q.· ·Okay.· Okay.· So tell me about the
23· · · · ·Q.· ·Okay.· Were you ever at the United Inn        23· ·first -- this first visit to the United Inn, you said
24· ·for anything other than trafficking?                     24· ·it was October 7th or 8th; right?
25· · · · ·A.· ·No, ma'am.                                    25· · · · ·A.· ·Correct.


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     Case 1:20-cv-05233-SEG                  Document 115-2              Filed 01/18/24          Page 4 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 30..33
                                                    Page 30                                                       Page 32
·1· · · · ·Q.· ·How -- how long were you there?               ·1· · · · ·A.· ·No, I actually don't.· I never seen King
·2· · · · ·A.· ·For like five weeks.                          ·2· ·rent, like, the room.· He already -- when I met him,
·3· · · · ·Q.· ·Five weeks?                                   ·3· ·he already had his rooms so he never, like, went to
·4· · · · ·A.· ·Yes, ma'am.                                   ·4· ·rent another room.· He was just already paying for
·5· · · · ·Q.· ·Okay.· Starting October 7th or 8th?           ·5· ·the rooms that he was having.
·6· · · · ·A.· ·Correct.                                      ·6· · · · · · · And then with Cash, I personally went
·7· · · · ·Q.· ·During those five weeks, did you ever         ·7· ·with Cash to go rent rooms, but I'm not sure if they
·8· ·leave the property?                                      ·8· ·were in his name.· But he was the one renting them,
·9· · · · ·A.· ·As in like live somewhere else, or just       ·9· ·yes.
10· ·like leave to go do something or something?              10· · · · ·Q.· ·When you -- when you arrived at the
11· · · · ·Q.· ·Okay.· That's a great question.               11· ·United Inn, Ms. Grimes, did you understand that you
12· · · · · · · During those five weeks, did you ever         12· ·were -- that -- did you have any idea you were going
13· ·leave for any purpose other than just to run an          13· ·to be there for weeks at a time being sex trafficked?
14· ·errand or something like that?                           14· · · · ·A.· ·No, I didn't.
15· · · · ·A.· ·Yeah.· Like, to go get food or go to          15· · · · ·Q.· ·Okay.· What -- what was your
16· ·the -- it was like a gas station right across the        16· ·understanding of what you were going to be doing
17· ·street, just, like, stuff like that, yes.                17· ·there?
18· · · · ·Q.· ·During those five weeks, did you ever         18· · · · ·A.· ·Making money for Shaq.
19· ·spend the night somewhere else?                          19· · · · ·Q.· ·What do you mean by that?
20· · · · ·A.· ·No, I didn't.                                 20· · · · ·A.· ·What do you mean what do I mean?
21· · · · ·Q.· ·Okay.· And during those five weeks,           21· · · · ·Q.· ·Having sex for money, but the money would
22· ·Ms. Grimes, were you -- were you -- you were being       22· ·be going to Shaq?
23· ·trafficked at the United Inn?                            23· · · · ·A.· ·Yeah, basically.· I guess, like, we --
24· · · · ·A.· ·Yes, ma'am.                                   24· ·Shaq said make the money so that's what we went to go
25· · · · ·Q.· ·And during those five weeks, were you in      25· ·do.

                                                    Page 31                                                       Page 33
·1· ·the same room the whole time?                            ·1· · · · ·Q.· ·And that's what that means?
·2· · · · ·A.· ·No, ma'am.                                    ·2· · · · ·A.· ·Is what what?
·3· · · · ·Q.· ·Okay.                                         ·3· · · · ·Q.· ·Yeah, I am not trying to confuse you. I
·4· · · · ·A.· ·It was different rooms.                       ·4· ·have just -- you -- you have used this term "make
·5· · · · ·Q.· ·Okay.· During that five-week period, do       ·5· ·money" for Shaq several times.
·6· ·you know how many different rooms you were in?           ·6· · · · ·A.· ·Like, working, yes, ma'am.
·7· · · · ·A.· ·I would say about five different rooms as     ·7· · · · ·Q.· ·Like, having sex for money, or do you
·8· ·well.                                                    ·8· ·mean something else?
·9· · · · ·Q.· ·Okay.· And do you know why you moved from     ·9· · · · ·A.· ·I mean -- yes, ma'am.
10· ·room to room?                                            10· · · · ·Q.· ·Okay.· Okay.· And I'm not trying to -- if
11· · · · ·A.· ·No.· When I was with King, he had a set       11· ·you don't understand my question or anything, I am
12· ·room.· Like, that was the room, but he also had an       12· ·not trying to put words in your mouth; I am just --
13· ·extra room to work out of too.· So King had two rooms    13· ·and I hope you understand that.· I'm just trying to
14· ·and then -- well, really King -- well -- it bothered     14· ·make sure I understand what you're talking about.
15· ·me -- King had two rooms.                                15· · · · · · · Okay?
16· · · · · · · And then Cash -- like if -- they'll check     16· · · · ·A.· ·Right.
17· ·out because sometimes they did use to check out and      17· · · · ·Q.· ·Okay.· All right.· So we talked about
18· ·then, like, pay for another room because they didn't     18· ·this five-week period when you were at the United
19· ·want the room, so it will be like that.· Like, we're     19· ·Inn.
20· ·switching rooms because they didn't want the room,       20· · · · · · · When -- so you would have -- when you
21· ·like...                                                  21· ·left the United Inn, then it would have been sometime
22· · · · ·Q.· ·Okay.· Do you know -- you have referenced     22· ·in November of 2018, if we count about five weeks.
23· ·a little bit, but do you know who -- whose names the     23· · · · ·A.· ·(Witness indicating.)
24· ·rooms were reserved in that you -- where you were        24· · · · ·Q.· ·Is that about right?
25· ·trafficked?                                              25· · · · ·A.· ·Yes, ma'am.· Oh, no, I'm -- yes, ma'am --


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     Case 1:20-cv-05233-SEG                  Document 115-2              Filed 01/18/24          Page 5 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 34..37
                                                    Page 34                                                       Page 36
·1· ·no, it was November of 2018, like, middle/end of         ·1· · · · ·A.· ·We had got a ride to United -- this boy
·2· ·November.                                                ·2· ·named Kimani had took us, and he -- he got us --
·3· · · · ·Q.· ·Okay.· All right.· And what happened that     ·3· · · · ·Q.· ·I'm sorry.· He took you; is that what you
·4· ·caused you to leave?                                     ·4· ·said?
·5· · · · ·A.· ·Cash had got arrested.                        ·5· · · · ·A.· ·Yes, ma'am.
·6· · · · ·Q.· ·Okay.· And so you -- you just left the        ·6· · · · ·Q.· ·Okay.
·7· ·hotel?                                                   ·7· · · · ·A.· ·I was with someone else.· It was me and
·8· · · · ·A.· ·So since we didn't get arrested, but we       ·8· ·some other girls.· This boy Kimani had took us to the
·9· ·were all in the room, by law they had to serve us,       ·9· ·United Inn and got us a room at the United Inn.· And
10· ·like, the trespassing paper.· So after we signed the     10· ·we were there -- I wasn't there that long.· It's -- I
11· ·paper, we had left.                                      11· ·was the first time.· We were there for like three
12· · · · ·Q.· ·All right.· And where did you -- where        12· ·days, maybe even less.· Maybe -- well, like, yeah,
13· ·did you go after that?                                   13· ·like, two or three days.
14· · · · ·A.· ·I really don't remember exactly.· It was      14· · · · ·Q.· ·Two to three days.
15· ·on Memorial Drive, though.· It was where Cash had        15· · · · · · · Okay.· And who were you -- who were
16· ·told us to go.· Like, he had -- he already knew he       16· ·you -- who were you working for during those two to
17· ·was about to get locked up so -- and he told us,         17· ·three days?
18· ·like, where to go, like, once he got locked up.          18· · · · ·A.· ·King.
19· ·So...                                                    19· · · · ·Q.· ·King.
20· · · · ·Q.· ·And was this -- was this that third hotel     20· · · · · · · And during the first day, you were -- in
21· ·we talked about before, or is it another place?          21· ·October/November, you were working for Cash and King
22· · · · ·A.· ·It's the third hotel, and he sent us to       22· ·or just --
23· ·somebody so we went to go, like, stay with them for      23· · · · ·A.· ·No, I'm sorry.· Could you repeat it?· The
24· ·that night.                                              24· ·first --
25· · · · ·Q.· ·Were you trafficked at that other place       25· · · · ·Q.· ·Sure.· So -- sure.

                                                    Page 35                                                       Page 37
·1· ·that you're talking about?                               ·1· · · · · · · So the first time you were at the United
·2· · · · ·A.· ·Yes, ma'am.· I mean, you can say that.        ·2· ·Inn in October and November --
·3· ·It was for a night, but you could -- yes, ma'am.         ·3· · · · ·A.· ·Yes, ma'am.
·4· · · · ·Q.· ·Okay.· And again, this is the third hotel     ·4· · · · ·Q.· ·-- you were working for Cash and King; is
·5· ·that's also on Memorial Drive that we talked about       ·5· ·that right?
·6· ·before?                                                  ·6· · · · ·A.· ·Yes, ma'am.· Not at the same time,
·7· · · · ·A.· ·Correct.                                      ·7· ·though, but in that span of time, yes, ma'am.
·8· · · · ·Q.· ·Okay.· And you were only there for a          ·8· · · · ·Q.· ·Right.
·9· ·night?                                                   ·9· · · · · · · Okay.· So for part of the time, you were
10· · · · ·A.· ·Yes, ma'am.                                   10· ·working for Cash; and then part of the time, you were
11· · · · ·Q.· ·Okay.· Who -- who was with you at that        11· ·working for King?
12· ·hotel?                                                   12· · · · ·A.· ·Correct.
13· · · · ·A.· ·Cash's girl.· It was kind of like his         13· · · · ·Q.· ·Okay.· And then when you were back at the
14· ·girlfriend, I guess you could say.· But she was          14· ·United Inn in January for a couple -- two to three
15· ·through Cash.· A girl Cash had with him.                 15· ·days, you were working for King; is that right or?
16· · · · ·Q.· ·Okay.· When -- when is the next -- was        16· · · · ·A.· ·Correct.
17· ·there another time that you were back at the United      17· · · · ·Q.· ·Okay.· And during that period of time,
18· ·Inn & Suites?                                            18· ·were you -- were you in the same room for those two
19· · · · ·A.· ·Yes, ma'am.                                   19· ·to three days?
20· · · · ·Q.· ·Okay.· When was that?                         20· · · · ·A.· ·Yes, ma'am.
21· · · · ·A.· ·In January.                                   21· · · · ·Q.· ·Okay.· Okay.· And what happened that
22· · · · ·Q.· ·January of 2019?                              22· ·caused you to leave the hotel in January of 2019?
23· · · · ·A.· ·Correct.                                      23· · · · ·A.· ·(Witness unresponsive.)
24· · · · ·Q.· ·All right.· Okay.· And how did you end up     24· · · · ·Q.· ·Let me ask a different question.
25· ·back at the United Inn?                                  25· · · · · · · What happened that caused you to leave


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     Case 1:20-cv-05233-SEG                  Document 115-2              Filed 01/18/24          Page 6 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 38..41
                                                    Page 38                                                       Page 40
·1· ·the United Inn in January of 2019 after you had been     ·1· ·you left the United Inn in 20- -- January of 2019,
·2· ·there for two to three days?· Why did you leave?         ·2· ·and I think you said you didn't remember.
·3· · · · ·A.· ·I honestly don't even remember.               ·3· · · · ·A.· ·Yeah, I don't recall.
·4· · · · ·Q.· ·Okay.                                         ·4· · · · ·Q.· ·Okay.· Did you ever return to the United
·5· · · · ·A.· ·But I just know we all had left.              ·5· ·Inn?
·6· · · · ·Q.· ·Okay.· When you say "all" -- "we all had      ·6· · · · ·A.· ·Again, after that?
·7· ·left," who are you talking about?                        ·7· · · · ·Q.· ·Yes, ma'am.
·8· · · · ·A.· ·I had first went to the United Inn with       ·8· · · · ·A.· ·No, ma'am.
·9· ·like three girls.· We were, like, three other girls.     ·9· · · · ·Q.· ·Okay.· So there were just two -- two time
10· ·The January time, not the first time, but the January    10· ·periods you were at the United Inn, if I am --
11· ·time when I had went.                                    11· · · · ·A.· ·Correct.
12· · · · ·Q.· ·Okay.· And what are their names?              12· · · · ·Q.· ·Okay.· One was in October or November of
13· · · · ·A.· ·I actually don't remember.· We were in        13· ·2018, and the other was in January of 2019?
14· ·group homes together, though.                            14· · · · ·A.· ·January; correct.
15· · · · ·Q.· ·Okay.· So these three -- so these three       15· · · · ·Q.· ·Okay.
16· ·girls that you went -- you're saying you went to the     16· · · · ·A.· ·Could we take a break, though?· Like, can
17· ·United Inn with them in the January time period;         17· ·I go to the restroom?
18· ·right?                                                   18· · · · · · · MS. RICHENS:· Absolutely.
19· · · · ·A.· ·Correct.                                      19· · · · · · · MR. BOUCHARD:· Yes.
20· · · · ·Q.· ·And there are three girls you knew from       20· · · · · · · MS. RICHENS:· Absolutely.· Take your
21· ·group homes?                                             21· · · · microphone off so you don't pull it.
22· · · · ·A.· ·Yeah.· We -- we were in a group home          22· · · · · · · THE VIDEOGRAPHER:· Stand by.
23· ·together.                                                23· · · · · · · The time is 10:43 a.m.· This is the
24· · · · ·Q.· ·Okay.· Tell me when you were in a -- tell     24· · · · end of Media No. 1, and we are off the
25· ·me about the group home that you're talking about.       25· · · · record.

                                                    Page 39                                                       Page 41
·1· · · · · · · When were you in a group home?                ·1· · · · · · · (Whereupon, the video camera was
·2· · · · ·A.· ·Like, from 2018 all the way to, like,         ·2· · · · turned off.)
·3· ·20- -- from 2018 to 2020, I was in group homes.          ·3· · · · · · · (A short recess was taken.)
·4· · · · ·Q.· ·How did you end up in a group home            ·4· · · · · · · (Whereupon, the video camera was
·5· ·initially?                                               ·5· · · · turned on.)
·6· · · · ·A.· ·Initially?                                    ·6· · · · · · · THE VIDEOGRAPHER:· This is the
·7· · · · ·Q.· ·Yeah.                                         ·7· · · · beginning of Media No. 2.· The time is
·8· · · · ·A.· ·My auntie wasn't fit to care for me at        ·8· · · · 10:55 a.m.
·9· ·the time, and then I just had a child as well.· It       ·9· · · · · · · We are on the record.
10· ·was just a lot going on at the time.                     10· ·BY MS. RICHENS:
11· · · · ·Q.· ·Okay.· So when -- when would it have been     11· · · · ·Q.· ·All right.· Ms. Grimes, so we took a
12· ·that you first moved into a group home?                  12· ·little break, and we're -- we're back on the record
13· · · · ·A.· ·I'm not sure, but sometime in 2018.           13· ·now.
14· · · · ·Q.· ·Okay.· Was it before these incidents of       14· · · · · · · So thank you for helping me walk through
15· ·sex trafficking that we're talking about?                15· ·some of the chronology that we talked about before,
16· · · · ·A.· ·No.· It was actually after the incident       16· ·and I'm -- as you might imagine, I'm really going to
17· ·of sex trafficking, yeah.                                17· ·be focusing on the time at the United Inn since
18· · · · ·Q.· ·Okay.                                         18· ·that's who I am representing.
19· · · · ·A.· ·Yeah.                                         19· · · · · · · So you told me that you -- before you --
20· · · · ·Q.· ·So when you -- when you were first            20· ·before you wound up at the United Inn in October of
21· ·trafficked at Stone -- Stone Mountain Inn & Suites,      21· ·2018, you had previously been at the Stone Mountain
22· ·you were still living with your -- your auntie?          22· ·Inn; is that right?
23· · · · ·A.· ·The very first time; correct.                 23· · · · ·A.· ·Correct.
24· · · · ·Q.· ·Okay.· All right.· Okay.· And so we           24· · · · ·Q.· ·Did you go directly from one to the
25· ·were -- we were talking about where you went after       25· ·other, or did you -- you know, go back to a group


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     Case 1:20-cv-05233-SEG                  Document 115-2              Filed 01/18/24          Page 7 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 42..45
                                                    Page 42                                                       Page 44
·1· ·home?· Or what did -- how -- how did that work, if       ·1· ·He picked you -- he picked you up and you think two
·2· ·you know what I'm asking?                                ·2· ·other girls from the group home?
·3· · · · ·A.· ·No.· I had went to -- I went to a CSEC        ·3· · · · ·A.· ·Uh-huh.
·4· ·home actually, and then I ended up going back, yeah,     ·4· · · · · · · MR. BOUCHARD:· What time frame are we
·5· ·to -- well, not back, but to the United Inn              ·5· · · · talking about?
·6· ·afterwards.                                              ·6· ·BY MS. RICHENS:
·7· · · · ·Q.· ·Okay.· And I didn't hear what you said.       ·7· · · · ·Q.· ·We're talking October of 2018; is that
·8· · · · · · · What kind of home?                            ·8· ·right?
·9· · · · ·A.· ·A CSEC home.                                  ·9· · · · · · · We're --
10· · · · ·Q.· ·What is that?                                 10· · · · ·A.· ·Correct.
11· · · · ·A.· ·A house for like girls who are being          11· · · · ·Q.· ·And you -- you don't know the names of
12· ·sexually abused or sex trafficked or anything like       12· ·the other two girls?
13· ·that.                                                    13· · · · ·A.· ·No.· It, like, slipped my mind, but if I
14· · · · · · · THE VIDEOGRAPHER:· Ms. Kerns, do you          14· ·hear it, I will know that's their name.
15· · · · mind speaking up?                                   15· · · · ·Q.· ·Okay.· All right.· And -- and so
16· · · · · · · I'm having a hard time hearing you.           16· ·Kimani -- Kimani took you and the other two girls to
17· · · · Sorry about that.                                   17· ·the United Inn?
18· · · · · · · THE WITNESS:· I'm sorry.· It's my             18· · · · ·A.· ·Correct.
19· · · · throat.                                             19· · · · ·Q.· ·Right.
20· · · · · · · Can I -- can I get a cough drop?              20· · · · · · · And -- and did you understand that you
21· · · · · · · MR. BOUCHARD:· Of course.                     21· ·were going there to be -- to be trafficked?
22· · · · · · · THE WITNESS:· Sorry.                          22· · · · ·A.· ·No.· Hold on.· I'm actually talking about
23· ·BY MS. RICHENS:                                          23· ·January.· I'm sorry.
24· · · · ·Q.· ·No, that's all right.                         24· · · · ·Q.· ·Okay.
25· · · · · · · So you were at a CSEC home, and you --        25· · · · ·A.· ·That's really embarrassing.

                                                    Page 43                                                       Page 45
·1· ·did you run away from that home and end up at the --     ·1· · · · ·Q.· ·No, no, no.
·2· ·at the United Inn, or how did you get from that home     ·2· · · · ·A.· ·No -- okay.
·3· ·to the United Inn?                                       ·3· · · · · · · So October of 2018; right?
·4· · · · ·A.· ·Someone had came and got us.· Kimani,         ·4· · · · ·Q.· ·Yes.
·5· ·this boy, had came and picked us up, me and who I was    ·5· · · · ·A.· ·No.· A girl named Kevy had took me to the
·6· ·with the -- some other girls at the time, and took us    ·6· ·United Inn.
·7· ·to United Inn.                                           ·7· · · · ·Q.· ·Okay.· And we talked about --
·8· · · · ·Q.· ·Kimani picked up you and who else?            ·8· · · · ·A.· ·Yes, ma'am.
·9· · · · ·A.· ·Two other girls I was with.                   ·9· · · · ·Q.· ·-- talked Kevy before.· Okay.· All right.
10· · · · ·Q.· ·And what are their names?                     10· ·So I'm going to cross out talking about Kimani.
11· · · · ·A.· ·Oh, no, actually --                           11· · · · ·A.· ·Yes, ma'am.
12· · · · ·Q.· ·I'm sorry.· Go ahead.· And take your          12· · · · ·Q.· ·We'll get to him --
13· ·time.· I know -- I know we've been going back and        13· · · · ·A.· ·It was a lot.· This one -- but no,
14· ·forth a little bit on the time frames.· So...            14· ·October, it was Kevy who had took me to --
15· · · · · · · I'm talking about in October of 2018.         15· · · · ·Q.· ·Okay.
16· · · · ·A.· ·I can't think of the name, but I'm pretty     16· · · · ·A.· ·-- United Inn the first time.
17· ·sure it's in, like, a report too as well because I       17· · · · ·Q.· ·Okay.· And I think what we said before
18· ·haven't talked to them since 2018.                       18· ·was that Kevy picked you up.
19· · · · ·Q.· ·Okay.· So who is Kimahdi (PH)?· Or            19· · · · ·A.· ·Uh-huh.
20· ·Kimahdi or Kimani?                                       20· · · · ·Q.· ·You thought you were going to the United
21· · · · ·A.· ·Kimani.· Kimani.                              21· ·Inn to work for Shaq; is that right?
22· · · · · · · He is a guy that I had met prior to me        22· · · · ·A.· ·Correct, yes, ma'am.
23· ·being in a group home.· I had met him at the Stone       23· · · · ·Q.· ·Okay.· So what happened when you -- you
24· ·Mountain Inn around that time.                           24· ·know, October 7th or 8th of 2018, what happened when
25· · · · ·Q.· ·Okay.· So you ended up at the United Inn.     25· ·you arrived at the United Inn?


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     Case 1:20-cv-05233-SEG                  Document 115-2              Filed 01/18/24          Page 8 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 46..49
                                                    Page 46                                                       Page 48
·1· · · · ·A.· ·Shaq, um, he already had gave like --         ·1· ·and I know this is hard, and I -- I feel bad because
·2· ·Kevy already had money from Shaq.· Like, he gave her     ·2· ·I feel like I'm grilling you with questions.· So
·3· ·the money to purchase the room, so she purchased the     ·3· ·please -- you know, I know it's difficult.· So you
·4· ·room, and then she ended up leaving to go do             ·4· ·take your time, and I will -- I will, you know, be
·5· ·something, but she, like, never came back.· I'm not      ·5· ·professional, and we'll get through it.
·6· ·sure what had happened, and I was still up there.        ·6· · · · · · · Okay?
·7· · · · ·Q.· ·And when this first happened, do you know     ·7· · · · ·A.· ·Right.
·8· ·what room this was -- this was at the hotel?             ·8· · · · ·Q.· ·So what I'm hearing you say is you didn't
·9· · · · ·A.· ·No.· I just know it was a -- we were at       ·9· ·know King; you didn't go to the hotel with King; you
10· ·the very top floor, and it was a back room.              10· ·literally just met King at the hotel?
11· · · · ·Q.· ·Top floor back room, meaning the back of      11· · · · ·A.· ·Correct.
12· ·the hotel?                                               12· · · · ·Q.· ·Okay.· Do you want a tissue or something?
13· · · · ·A.· ·Yes, ma'am.                                   13· · · · ·A.· ·Please.
14· · · · ·Q.· ·Okay.                                         14· · · · ·Q.· ·Yeah.
15· · · · ·A.· ·On the backside.                              15· · · · · · · So you met King at the hotel, and you had
16· · · · ·Q.· ·Okay.· Okay.· And did you understand what     16· ·this conversation, and then what -- and then what
17· ·you were doing there?                                    17· ·happened?
18· · · · ·A.· ·At the time, no.· But now, yes.               18· · · · ·A.· ·He had took me in the room with him,
19· · · · ·Q.· ·Okay.· So -- so what happened?· You --        19· ·like -- and then he had, like, two other girls with
20· ·you got to this -- did someone bring you to the room?    20· ·him too.· One was, like, his baby mama, and the other
21· · · · ·A.· ·Yeah, Kevy did.                               21· ·was the baby mama's sister.· But, yeah, like, he seen
22· · · · ·Q.· ·Okay.· All right.· And then what              22· ·me at the hotel, you know, started asking me, like,
23· ·happened?· You said she left.                            23· ·what was I doing out there; did I need anything; I
24· · · · ·A.· ·Yeah.· So she had left, and then the next     24· ·could come sit in his room and stuff like that.· So
25· ·day, it was, you know, time to check out of the room.    25· ·then I went in the room and -- yeah.

                                                    Page 47                                                       Page 49
·1· ·So I'm just around the hotel, trying to get a ride,      ·1· · · · ·Q.· ·Where was this room?· Where was King's
·2· ·figure out, you know, what I'm about to do, and then     ·2· ·room?
·3· ·I had met King.                                          ·3· · · · ·A.· ·I'm sorry.· I'm sorry.· I don't know why
·4· · · · ·Q.· ·I'm sorry.· You were trying to get a --       ·4· ·I'm crying right now.
·5· · · · ·A.· ·Get, like, a ride from the hotel or           ·5· · · · · · · His room -- on the front side of the
·6· ·something.                                               ·6· ·hotel, on the third floor.· It was on the third floor
·7· · · · ·Q.· ·Okay.                                         ·7· ·in the front side.· Like, in front of like the lobby
·8· · · · ·A.· ·Because I am just at the hotel.               ·8· ·area where you would walk into the lobby of the
·9· · · · ·Q.· ·Okay.                                         ·9· ·hotel.
10· · · · ·A.· ·Like, just outside at the hotel.· So I        10· · · · ·Q.· ·Uh-huh.
11· ·ended up meeting King.                                   11· · · · ·A.· ·It was on that side.
12· · · · ·Q.· ·You just met him at the hotel?                12· · · · ·Q.· ·Left side as you're looking at the hotel?
13· · · · ·A.· ·I mean, he -- yeah, like, he walked up to     13· · · · ·A.· ·Yes, ma'am.
14· ·me.· I am just outside so you know.· I'm sorry. I        14· · · · ·Q.· ·Okay.
15· ·don't mean to sound mean.                                15· · · · ·A.· ·It was on the left side.
16· · · · · · · But he -- I'm standing outside, yes, and      16· · · · ·Q.· ·Do you want to take a break, or you want
17· ·he had approached me and told me I could come to his     17· ·to keep going?
18· ·room, like asked me what I needed and stuff like         18· · · · ·A.· ·No.· I really just want to get it over
19· ·that.                                                    19· ·with.
20· · · · ·Q.· ·I'm sorry.· You weren't mean -- did --        20· · · · ·Q.· ·Okay.· I -- I thought you might say that
21· ·you weren't mean to me.                                  21· ·so we'll -- we'll keep going.· But if you -- if you
22· · · · ·A.· ·Yeah.· I just didn't want to come across      22· ·ever do want to just stop, let me know.
23· ·like that because that's not how I was trying to         23· · · · · · · Okay.· And so -- and then what happened?
24· ·sound.                                                   24· ·So you went -- you went -- you went into that room,
25· · · · ·Q.· ·Well, and I -- I didn't take it that way,     25· ·and -- and what happened?


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     Case 1:20-cv-05233-SEG                  Document 115-2              Filed 01/18/24          Page 9 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 50..53
                                                    Page 50                                                       Page 52
·1· · · · ·A.· ·So he had took me into the room, and like     ·1· ·using it like that.
·2· ·we just started to -- like, he seemed as like, you       ·2· · · · ·Q.· ·Okay.· And what -- the time we're talking
·3· ·know, like, he really cared about, like, what I had      ·3· ·about now, and it sounds like it's early October, had
·4· ·going on.· And, you know, like, my safety at the         ·4· ·you met Cash yet or this was just King?
·5· ·time, like he was trying to protect me or whatever,      ·5· · · · ·A.· ·Not yet.
·6· ·and yeah.· I'm sorry.                                    ·6· · · · ·Q.· ·Okay.· So -- so tell me about, um, maybe
·7· · · · · · · Do you want me to go more into detail?        ·7· ·the first period of time when you -- when you were
·8· · · · ·Q.· ·Well, so I guess at some point you --         ·8· ·being trafficked by King at the United Inn, where --
·9· ·you -- he trafficked you?                                ·9· ·where was this -- where was the room, or were you
10· · · · ·A.· ·Yes, ma'am.                                   10· ·moved from room to room?
11· · · · ·Q.· ·Did that just start like that day?            11· · · · ·A.· ·It just -- well, he had two rooms; so one
12· · · · ·A.· ·No, it wasn't the same day, actually.· It     12· ·was on the front side, and that was, like, the room
13· ·was, like, maybe, like, the following day.· So the       13· ·we, like, slept in and stuff.· We were living out of
14· ·first day I met him --                                   14· ·that room.
15· · · · ·Q.· ·Uh-huh.                                       15· · · · ·Q.· ·Okay.
16· · · · ·A.· ·-- he didn't do that yet.· Like, he was       16· · · · ·A.· ·So everyone was living out of that one
17· ·telling me about, like, what his baby mama and the       17· ·room, and then he had a room on the backside
18· ·sister were doing, like, and that is what they were      18· ·because -- it was three girls in the rooms, and all
19· ·doing, but at the time, it -- I wasn't doing that        19· ·three of us couldn't make -- you know, money at the
20· ·yet.· Like, he was more so talking to me, I guess.       20· ·same time in one room.· So he had another room.· So
21· · · · ·Q.· ·Okay.                                         21· ·one girl was doing what they were doing, and the girl
22· · · · ·A.· ·Yeah.                                         22· ·goes to the other room.
23· · · · ·Q.· ·All right.· And then it sounds like maybe     23· · · · ·Q.· ·Okay.· So if I heard you correctly, he
24· ·the next day that -- that's what happened?               24· ·had two rooms; one was in the front where you would
25· · · · ·A.· ·So yes, that is what happened.· Later         25· ·sleep at night?

                                                    Page 51                                                       Page 53
·1· ·that night, like, he had gave me, like, these pills      ·1· · · · ·A.· ·I mean, they were working out of that
·2· ·or whatever, and then the next day, that's kind of       ·2· ·room too.
·3· ·when everything came into play.· He had took me to       ·3· · · · ·Q.· ·Okay.
·4· ·another room that he had because he had another room     ·4· · · · ·A.· ·But that is the room we were sleeping out
·5· ·on the backside of the hotel, but it was on the same     ·5· ·of, though, yes.
·6· ·floor, and then that's kind of what he like -- told      ·6· · · · ·Q.· ·Okay.· And the other one was more
·7· ·me everything, like, what I was going to be doing and    ·7· ·where -- where the -- the sexual activity would
·8· ·stuff.                                                   ·8· ·occur?
·9· · · · ·Q.· ·He told you what you were going to be         ·9· · · · ·A.· ·I mean, both of them --
10· ·doing; is that what you said?                            10· · · · ·Q.· ·Okay.
11· · · · ·A.· ·Yes.· Like, you know, "I have an ad.          11· · · · ·A.· ·-- it was occurring in, but one was just
12· ·You're going to post an ad.· You're going to make        12· ·an extra room.
13· ·money, you're going to do this" and stuff like that.     13· · · · ·Q.· ·Okay.
14· · · · ·Q.· ·Okay.· All right.· And that's what            14· · · · ·A.· ·You -- if that makes sense because --
15· ·happened?                                                15· · · · ·Q.· ·Yeah, I understand.
16· · · · ·A.· ·(Witness indicating.)                         16· · · · ·A.· ·Yes, ma'am.
17· · · · ·Q.· ·Okay.· And -- and where was -- do you         17· · · · ·Q.· ·I understand.
18· ·know where the ads were posted?                          18· · · · · · · And the two other girls are the two girls
19· · · · ·A.· ·Uh-huh.                                       19· ·you told me about before, his baby mama and somebody
20· · · · ·Q.· ·Where is that?                                20· ·else, or were there --
21· · · · ·A.· ·On ListCrawler.                               21· · · · ·A.· ·Uh-huh.
22· · · · ·Q.· ·Okay.· Were you familiar with                 22· · · · ·Q.· ·Okay.· And I may have asked you this
23· ·ListCrawler?· Had you heard of that before?              23· ·before, but now that we're going through it a little
24· · · · ·A.· ·Yes.· I have -- I have heard of it            24· ·bit more step-by-step, do you know whose -- whose
25· ·before, yes, through Shaq.· But I really wasn't like     25· ·name these rooms were rented in?


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    Case 1:20-cv-05233-SEG                  Document 115-2               Filed 01/18/24          Page 10 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 54..57
                                                    Page 54                                                       Page 56
·1· · · · ·A.· ·No.· So I was staying -- when King --         ·1· ·12 plays a day.
·2· · · · ·Q.· ·Yes.                                          ·2· · · · ·Q.· ·Okay.
·3· · · · ·A.· ·He already, like, been up there, so the       ·3· · · · ·A.· ·I'm not sure, like, the exact number, but
·4· ·rooms that he had, he already had them.· So I never,     ·4· ·it's like around that.
·5· ·like, seen him rent a room because he already had the    ·5· · · · ·Q.· ·Okay.· No, that --
·6· ·room.· He never just not -- didn't have the room, if     ·6· · · · ·A.· ·It varied.
·7· ·that makes sense.· So he never had to go re-rent a       ·7· · · · ·Q.· ·Yeah.· That's why I'm trying to get just
·8· ·room.                                                    ·8· ·an idea.
·9· · · · · · · And then with Cash, yes --                    ·9· · · · · · · And were you -- when you were having --
10· · · · ·Q.· ·Can I have -- stop you there and we'll        10· ·when you were having sex with these plays or having a
11· ·get to Cash --                                           11· ·play, or whatever you want to call it, were there
12· · · · ·A.· ·Uh-huh.                                       12· ·other people in the room?
13· · · · ·Q.· ·-- so I don't -- so we don't get              13· · · · ·A.· ·No.
14· ·confused.                                                14· · · · ·Q.· ·Okay.
15· · · · ·A.· ·Okay.                                         15· · · · ·A.· ·No.· So if, like, the rooms are
16· · · · ·Q.· ·Okay.· All right.· Okay.                      16· ·preoccupied or something, we'll use the car.· Like,
17· · · · · · · So how long were you -- how long were you     17· ·we'll have the play in the parking lot, and they will
18· ·being trafficked by King during this first period        18· ·just park the car, like, on the backside or just
19· ·we're talking about?                                     19· ·somewhere where it's not a whole bunch of people
20· · · · ·A.· ·Maybe like a week and some days.              20· ·walking by.
21· · · · ·Q.· ·Okay.· And can you tell me sort of what a     21· · · · ·Q.· ·Did you do that?
22· ·day would look like?· I mean, were you -- were you       22· · · · ·A.· ·Did I do what?
23· ·being trafficked all day long during that -- during      23· · · · ·Q.· ·Did you do a play in a -- in the parking
24· ·that week?                                               24· ·lot sometimes?
25· · · · ·A.· ·Yes.                                          25· · · · ·A.· ·Yes, ma'am.

                                                    Page 55                                                       Page 57
·1· · · · ·Q.· ·Okay.                                         ·1· · · · ·Q.· ·Okay.· What is your understanding -- we
·2· · · · ·A.· ·(Witness unresponsive.)                       ·2· ·mentioned the ads.
·3· · · · ·Q.· ·Okay.                                         ·3· · · · · · · Is that your understanding of where these
·4· · · · ·A.· ·I'm sorry.· It was like -- so with King,      ·4· ·plays came from, that men would see your ad on
·5· ·it was, like, a 24/7 thing, like sun up to sun down.     ·5· ·ListCrawler and make arrangements that way?· Or were
·6· ·So he used to, like, give us pills and stuff so that     ·6· ·there other -- other ways as well that you know of?
·7· ·we can stay up, like, you know, so we can keep           ·7· · · · ·A.· ·It was through ListCrawler.· Like, it
·8· ·working.· But, like, we would work all day when it       ·8· ·would be, like, men -- we would make plays with men
·9· ·came to King.· He would even sometimes, like, us take    ·9· ·at the hotel.· We would make -- we were on Memorial
10· ·a nap or something, and he would get the phone and       10· ·Drive, so there was a lot of traffic.· Like, you
11· ·start like getting the plays to come in, like, just      11· ·could just stand outside, and cars would come
12· ·wake us up when, like, the plays are there and stuff     12· ·through.· So it was, like, three different ways.
13· ·like that, but we were always working.                   13· · · · ·Q.· ·Okay.· So you talked about the ads, then
14· · · · ·Q.· ·Okay.· Okay.· And you answered a question     14· ·you talked about just people at the hotel?
15· ·I was going to have.· I didn't know what we were         15· · · · ·A.· ·(Witness indicating.)
16· ·going to call the -- the men that came -- that came      16· · · · ·Q.· ·Okay.· And then you talked about traffic
17· ·to have sex with you, we're going to call them -- you    17· ·from Memorial Drive?
18· ·would call them a "play"?                                18· · · · ·A.· ·(Witness indicating.)
19· · · · ·A.· ·Yes, ma'am.                                   19· · · · ·Q.· ·Are those -- are those the three ways
20· · · · ·Q.· ·All right.                                    20· ·you're talking about?
21· · · · ·A.· ·Yes.                                          21· · · · ·A.· ·Yes, ma'am.
22· · · · ·Q.· ·So can you tell me, Ms. Grimes, how many      22· · · · ·Q.· ·Okay.· Okay.· Did King have other people
23· ·plays you -- you were doing a day for King while you     23· ·working with him, men or women helping him in any
24· ·were working for him?                                    24· ·way, or was it just him?
25· · · · ·A.· ·Like a whole day.· I have probably like       25· · · · ·A.· ·Like, did he have other girls working?


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    Case 1:20-cv-05233-SEG                  Document 115-2               Filed 01/18/24          Page 11 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 58..61
                                                    Page 58                                                       Page 60
·1· · · · ·Q.· ·That's not what I'm asking about.             ·1· · · · ·A.· ·I tried to, like, keep some of the money,
·2· · · · · · · I'm asking about other -- like, other         ·2· ·but he knew, so, like, it was like a big fight or
·3· ·people helping him.                                      ·3· ·whatever had happened.· He had kicked me out of the
·4· · · · ·A.· ·Oh.· If he did, I didn't know about them.     ·4· ·room, so I am just like in the -- the little hallway
·5· · · · ·Q.· ·Okay.· But let me confirm, and I think        ·5· ·of the hotel, like, where the front desk is and,
·6· ·you did -- we have -- I think you have told me that      ·6· ·like, the stairs and stuff.
·7· ·at this time he did -- there were two other girls who    ·7· · · · ·Q.· ·Uh-huh.
·8· ·were -- who were being trafficked as well by King; is    ·8· · · · ·A.· ·Like, the elevators and stuff.· I am in
·9· ·that right?                                              ·9· ·that little hallway, and then I had ended up -- and
10· · · · ·A.· ·There were two girls in the room with me,     10· ·it's nighttime too, and I had ended up meeting Cash
11· ·yes, who were being trafficked by him, but he had        11· ·and his girlfriend, or the girl he was with.
12· ·other girls up there too working for him.                12· · · · ·Q.· ·That's when you met Cash and his
13· · · · ·Q.· ·At this same time?                            13· ·girlfriend?
14· · · · ·A.· ·Yes, ma'am.· I actually met one of the        14· · · · ·A.· ·(Witness indicating.)
15· ·girls too, but she wasn't staying in the room with       15· · · · ·Q.· ·Okay.· And so what happened there?
16· ·us, though.                                              16· · · · ·A.· ·They told me I could come in their room.
17· · · · ·Q.· ·Okay.· So you met two girls, but you say      17· ·They asked me what was going on.· I told them what
18· ·there were others he was trafficking as well and you     18· ·was going on, and they told me that I could come stay
19· ·met one of them?                                         19· ·with them, like, in their room.
20· · · · ·A.· ·Uh-huh.                                       20· · · · ·Q.· ·Okay.· Is that what you did?
21· · · · ·Q.· ·Okay.· What was her name?· Do you know?       21· · · · ·A.· ·(Witness indicating.)
22· · · · ·A.· ·It was Promise.                               22· · · · ·Q.· ·All right.· And then what happened after
23· · · · ·Q.· ·Promise?                                      23· ·that?
24· · · · ·A.· ·Uh-huh.                                       24· · · · ·A.· ·Like after --
25· · · · ·Q.· ·Okay.· So just to confirm, you said King      25· · · · ·Q.· ·So you went up to their room, you spent

                                                    Page 59                                                       Page 61
·1· ·sort of had all of the rooms.· You didn't ever go,       ·1· ·the night, I mean --
·2· ·like, to the front desk with him to -- to pay for a      ·2· · · · ·A.· ·So, like, the rest of the time period I
·3· ·room or anything like that; is that right?               ·3· ·was at the United Inn, it was with Cash and the other
·4· · · · ·A.· ·No.· I was always, like, around the           ·4· ·people that he was with.
·5· ·hotel, though.                                           ·5· · · · ·Q.· ·Okay.· And how long was that,
·6· · · · ·Q.· ·Okay.                                         ·6· ·approximately?
·7· · · · ·A.· ·But I never went to purchase the room,        ·7· · · · ·A.· ·Like, four weeks.· So it was until, like,
·8· ·though, no.                                              ·8· ·November.· Like, the middle, end of November when he
·9· · · · ·Q.· ·Okay.· And just so I am clear, do you         ·9· ·had got locked up.· It was until he had got locked
10· ·know whose name his -- he rented -- the -- do you        10· ·up.
11· ·know whose name the rooms he rented or rented in?        11· · · · ·Q.· ·Okay.· And he was arrested at the United
12· · · · ·A.· ·No, ma'am.                                    12· ·Inn?
13· · · · ·Q.· ·Okay.· So did you get any money for           13· · · · ·A.· ·Yes.
14· ·plays?· Were you given any money?                        14· · · · ·Q.· ·Okay.· Did you ever go back to work for
15· · · · ·A.· ·No.                                           15· ·King, or that was the end of that?
16· · · · ·Q.· ·All the money went to King presumably?        16· · · · ·A.· ·Not during this time period, no.
17· · · · ·A.· ·Yes.                                          17· · · · ·Q.· ·Okay.· So in October, November, not -- no
18· · · · ·Q.· ·So what happened next after that week or      18· ·more with King.· Okay.
19· ·some -- week plus, you called it, that you were          19· · · · · · · So tell me -- so then you were trafficked
20· ·working for King?                                        20· ·by Cash, it sounds like?
21· · · · ·A.· ·I had actually, like, tried to, like,         21· · · · ·A.· ·Yes.
22· ·take some money.· So after, like, I had --               22· · · · ·Q.· ·All right.· And where in the hotel did
23· · · · ·Q.· ·Take some money; is that what you --          23· ·this occur?
24· · · · ·A.· ·Yes.                                          24· · · · ·A.· ·So Cash had, like, multiple rooms.· Like,
25· · · · ·Q.· ·Okay.                                         25· ·King he had two rooms, and those were just his two


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    Case 1:20-cv-05233-SEG                  Document 115-2               Filed 01/18/24          Page 12 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 62..65
                                                    Page 62                                                       Page 64
·1· ·rooms.· Cash is, like, we'll check in and check out,     ·1· · · · ·A.· ·King again.
·2· ·like, we -- we were getting different rooms.· Like,      ·2· · · · ·Q.· ·How did you end up back at the United
·3· ·if he didn't want a room, he will request a different    ·3· ·Inn?
·4· ·room.· Like, we had different rooms.· So I would say     ·4· · · · ·A.· ·Kimani.· A boy named Kimani.
·5· ·about, like, four or five rooms in total within that     ·5· · · · ·Q.· ·Okay.
·6· ·time frame.                                              ·6· · · · ·A.· ·Well, this man named Kimani brought me
·7· · · · ·Q.· ·Okay.· He would move around?                  ·7· ·there.
·8· · · · ·A.· ·Uh-huh.                                       ·8· · · · ·Q.· ·Okay.· We started talking about Kimani,
·9· · · · ·Q.· ·And was it the -- kind of the same as         ·9· ·and then I think we realized we might be confused on
10· ·what you described with King in terms of men would       10· ·the time frame.
11· ·come, either from ListCrawler or they were just at       11· · · · ·A.· ·Uh-huh.
12· ·the hotel?· Or -- or what -- what was -- was that the    12· · · · ·Q.· ·So let me ask you, again, how did --
13· ·same, or was that different?                             13· ·who -- I think you said you met Kimani at the United
14· · · · ·A.· ·It was kind of, like, the same, yeah.         14· ·Inn -- excuse me, at the Stone Mountain Inn?
15· ·But with Cash, it was, like, majority, like, most of     15· · · · ·A.· ·Yeah, that was my first time ever meeting
16· ·our plays came from, like, outside.· Like, not on        16· ·him, but we never, like, lost contact.· Like, I was
17· ·ListCrawler.· They came from, like, the hotel and        17· ·still in contact.
18· ·Memorial Drive and stuff like that.                      18· · · · ·Q.· ·The first time you ever met him was at
19· · · · ·Q.· ·When you talk about coming from Memorial      19· ·the United -- excuse me, at the Stone Mountain Inn,
20· ·Drive, did -- did you ever go out?· Were you ever        20· ·but --
21· ·asked to go out, or did you ever go out and walk         21· · · · ·A.· ·Yes.· Like, in that time period, yes.
22· ·Memorial Drive?                                          22· · · · ·Q.· ·Okay.
23· · · · ·A.· ·Yeah.· Cash used to make me and the other     23· · · · ·A.· ·That was my first time meeting him.
24· ·girl do that, yeah.                                      24· · · · ·Q.· ·All right.· And you were -- during this
25· · · · ·Q.· ·What -- let's see.                            25· ·stay in January of 2019, you were there for two or

                                                    Page 63                                                       Page 65
·1· · · · · · · What is the name of the other girl you're     ·1· ·three days -- two to three days?
·2· ·talking about?                                           ·2· · · · ·A.· ·(Witness indicating.)
·3· · · · ·A.· ·Her name is Mini.                             ·3· · · · ·Q.· ·And where -- where on the property were
·4· · · · ·Q.· ·Mini?                                         ·4· ·you?· Where at the United Inn?
·5· · · · ·A.· ·Uh-huh.                                       ·5· · · · ·A.· ·We were actually, like, right by the
·6· · · · ·Q.· ·Okay.· And so that -- that stay at the        ·6· ·hallway.· We were on the bottom floor so the main
·7· ·hotel -- at the United Inn ended when Cash was           ·7· ·level right in the front.· Like, so if you look at
·8· ·arrested?                                                ·8· ·the lobby --
·9· · · · ·A.· ·(Witness indicating.)                         ·9· · · · ·Q.· ·Uh-huh.
10· · · · ·Q.· ·Okay.· And did Cash have anyone helping       10· · · · ·A.· ·-- we were literally on the right, and we
11· ·him?                                                     11· ·were probably like two, three doors down from the
12· · · · ·A.· ·Yeah.· It was like Cash has, like, three      12· ·lobby.· We were right there.
13· ·other men with him.                                      13· · · · ·Q.· ·Okay.· And you were trafficked by King
14· · · · ·Q.· ·Okay.· Do you know their names?               14· ·during that time period?
15· · · · ·A.· ·No.· But they're in the police report as      15· · · · ·A.· ·(Witness indicating.)
16· ·well.                                                    16· · · · ·Q.· ·Okay.· Do you know what the -- the dates
17· · · · ·Q.· ·Okay.· All right.· Okay.                      17· ·were of that?
18· · · · · · · And then let's talk about, if we could,       18· · · · ·A.· ·No.· I just know it was, like, early
19· ·the second -- or the next time you were at the United    19· ·January.
20· ·Inn, which was in January of 2019.                       20· · · · ·Q.· ·Okay.· And -- and what happened?· Why did
21· · · · ·A.· ·Correct.                                      21· ·you end up leaving the United Inn after that?
22· · · · ·Q.· ·And -- and you said that was, I think,        22· · · · ·A.· ·That's what I was -- I really don't even
23· ·for two or three days is what you told me.               23· ·recall why we had left, but we had left.· I don't
24· · · · ·A.· ·(Witness indicating.)                         24· ·remember why, though.
25· · · · ·Q.· ·And who was trafficking you then?             25· · · · ·Q.· ·Okay.· And who is "we" that you're


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    Case 1:20-cv-05233-SEG                  Document 115-2               Filed 01/18/24          Page 13 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 70..73
                                                    Page 70                                                       Page 72
·1· ·it.· One second.                                         ·1· ·paperwork-wise that will say that.
·2· · · · · · · Keiron Perry?                                 ·2· · · · ·Q.· ·Okay.
·3· · · · ·A.· ·No, ma'am.                                    ·3· · · · ·A.· ·I think it's, like, police reports too,
·4· · · · ·Q.· ·Quinton Antwan Bush?                          ·4· ·but that's, like, it.
·5· · · · · · · Endco Corey Forest?                           ·5· · · · ·Q.· ·So you are saying that, if I am
·6· · · · ·A.· ·That's Cash.                                  ·6· ·understanding you correctly, you received one of
·7· · · · ·Q.· ·Endco Corey Forest is Cash?                   ·7· ·these trespass papers from the hotel; is that right?
·8· · · · ·A.· ·Correct.                                      ·8· · · · ·A.· ·Yes, the day Cash had got locked up.
·9· · · · ·Q.· ·Okay.· Thanks.                                ·9· · · · ·Q.· ·Okay.· And does it have your name -- it
10· · · · · · · Do you know who those other two gentlemen     10· ·has your name on it?
11· ·are?                                                     11· · · · ·A.· ·No.
12· · · · ·A.· ·They were just in the room with us, like,     12· · · · ·Q.· ·Whose --
13· ·the whole time period we were there.· They were with     13· · · · ·A.· ·It has my cousin.· I gave them another
14· ·Cash.                                                    14· ·name.
15· · · · ·Q.· ·Were they arrested as well?                   15· · · · ·Q.· ·Okay.· What name did you give them?
16· · · · ·A.· ·Yes, ma'am.                                   16· · · · ·A.· ·Shameka Grimes.
17· · · · ·Q.· ·Okay.· Are you okay?· Do you need a           17· · · · ·Q.· ·What's the first name?
18· ·break?                                                   18· · · · ·A.· ·Shameka.
19· · · · ·A.· ·No, I'm good.                                 19· · · · ·Q.· ·Spell it.· Does it have a spelling, in
20· · · · ·Q.· ·Are there any photos taken by you or          20· ·your -- in your mind?· How do you spell it?
21· ·anyone else at the United Inn?                           21· · · · ·A.· ·Ah --
22· · · · ·A.· ·Yes, ma'am.                                   22· · · · ·Q.· ·Shameka?
23· · · · ·Q.· ·Okay.· And did you provide those to your      23· · · · ·A.· ·Yes, ma'am.
24· ·attorney?                                                24· · · · ·Q.· ·Okay.· And you used your real last name,
25· · · · ·A.· ·Yes, ma'am.                                   25· ·Grimes?

                                                    Page 71                                                       Page 73
·1· · · · ·Q.· ·Okay.· Was it photos or video or both?        ·1· · · · ·A.· ·Yeah, because that's her real last name
·2· · · · ·A.· ·Both.                                         ·2· ·too.
·3· · · · ·Q.· ·Okay.· All right.· We'll come back to         ·3· · · · ·Q.· ·Do you have a cousin named Shameka
·4· ·this.                                                    ·4· ·Grimes?
·5· · · · · · · Do you have -- we talked about people you     ·5· · · · ·A.· ·Yes, ma'am, I do.
·6· ·know who could -- who would -- who would confirm you     ·6· · · · ·Q.· ·Okay.· So you just gave them your
·7· ·were at the United Inn with you.                         ·7· ·cousin's name?
·8· · · · · · · Did you take anything from the United         ·8· · · · ·A.· ·Correct.
·9· ·Inn, like a towel, a -- you know, an ashtray?            ·9· · · · ·Q.· ·Okay.· You mentioned that -- and I'm
10· ·Anything that you could say, "Look, this is from the     10· ·sorry, I can't remember who it was.· So let me ask
11· ·United Inn"?                                             11· ·you -- I think it was King had given you drugs so you
12· · · · ·A.· ·No, ma'am.· That was in 2018.                 12· ·could stay awake?
13· · · · ·Q.· ·Okay.· And I'm -- I understand.               13· · · · ·A.· ·Uh-huh.
14· · · · ·A.· ·Yeah.                                         14· · · · ·Q.· ·Do you know what kind of drugs you were
15· · · · ·Q.· ·I'm just trying to ask questions.             15· ·given?
16· · · · ·A.· ·Yeah.                                         16· · · · ·A.· ·No.· I just know, like, they were, like,
17· · · · ·Q.· ·Do you have any paperwork that you --         17· ·pills, and they just made you stay up.· Like, you
18· ·like, did you leave the United Inn with like a room      18· ·don't get tired on them.
19· ·receipt or a room key or an invoice or a bill,           19· · · · ·Q.· ·Okay.· Did Cash do that as well?
20· ·anything like that?                                      20· · · · ·A.· ·He did actually as well, yeah.
21· · · · ·A.· ·No, I didn't, except for the paper that I     21· · · · ·Q.· ·Do you know --
22· ·signed when Cash had got arrested, and they, like,       22· · · · ·A.· ·But his -- do I know what they're called?
23· ·did the trespassing.· You can't come back on the         23· · · · ·Q.· ·Yeah.
24· ·property basically because all of that had happened.     24· · · · ·A.· ·No.· But it was -- whatever the pill was,
25· ·That's the only, like, thing that I have                 25· ·it was the same thing.


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    Case 1:20-cv-05233-SEG                  Document 115-2               Filed 01/18/24          Page 14 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 74..77
                                                    Page 74                                                       Page 76
·1· · · · ·Q.· ·Okay.                                         ·1· · · · · · · THE VIDEOGRAPHER:· This is the
·2· · · · ·A.· ·Like --                                       ·2· · · · beginning of Media No. 3 in the deposition
·3· · · · ·Q.· ·Did they have -- did they call them           ·3· · · · of Jhordyn Grimes.· The time is 11:51 a.m.,
·4· ·something?· Like, do they have a nickname?               ·4· · · · and we are on the record.
·5· · · · ·A.· ·It was, but I can't think of, like, the       ·5· ·BY MS. RICHENS:
·6· ·name that they used for them.                            ·6· · · · ·Q.· ·All right.· Ms. Grimes, I just have a
·7· · · · ·Q.· ·Okay.                                         ·7· ·couple of follow-up questions, and then we're going
·8· · · · ·A.· ·But it -- you know, like -- like, they        ·8· ·to move to another topic.
·9· ·will be, like, little pills, and, like, it will be       ·9· · · · · · · So we have talked about Cash and his
10· ·in, like, a shape or something, and they come in,        10· ·associates, the -- the men that were helping him and
11· ·like, different colors.                                  11· ·then King.
12· · · · ·Q.· ·Like, a gummy of some kind?                   12· · · · · · · Did any of those gentlemen carry weapons?
13· · · · ·A.· ·No.                                           13· ·Did they have guns?
14· · · · ·Q.· ·Or an actual pill?                            14· · · · ·A.· ·Every single one of them, yes.
15· · · · ·A.· ·It was like an actual pill.                   15· · · · ·Q.· ·All of them had guns?
16· · · · ·Q.· ·Okay.· Okay.· If you think of it, let me      16· · · · ·A.· ·Yeah.
17· ·know.                                                    17· · · · ·Q.· ·What did they -- I mean, did they ever
18· · · · · · · But it was the same for both King and         18· ·threaten you with them, or what did they do with
19· ·Cash?                                                    19· ·them?
20· · · · ·A.· ·Yes, ma'am.                                   20· · · · ·A.· ·Not Cash, but the -- Cash never, like,
21· · · · ·Q.· ·Were they also selling drugs?                 21· ·threatened me, but him and, like, the other girl used
22· · · · ·A.· ·Cash was; King wasn't.                        22· ·to, like, actually, like -- like, he used to threaten
23· · · · ·Q.· ·Do you know what kind of drugs he was         23· ·her and beat her up and, like, stuff like that.· But
24· ·selling?                                                 24· ·the other men who were in the room, they did.· They
25· · · · ·A.· ·Cash?                                         25· ·have threatened me a couple of times, but...

                                                    Page 75                                                       Page 77
·1· · · · ·Q.· ·Yes.                                          ·1· · · · ·Q.· ·The associates of Cash -- or is that who
·2· · · · ·A.· ·He was selling everything, like, ice.         ·2· ·you're talking about?
·3· · · · ·Q.· ·What is ice?                                  ·3· · · · ·A.· ·Yes, ma'am.
·4· · · · ·A.· ·To be honest, I don't even know.· I just      ·4· · · · ·Q.· ·Okay.· They -- they threatened you?
·5· ·know, like, that's what it was called.                   ·5· · · · ·A.· ·Yes, ma'am.
·6· · · · ·Q.· ·It was called "ice."· Okay.                   ·6· · · · ·Q.· ·What about King?· Did he ever --
·7· · · · ·A.· ·I know you can smoke it, though, because      ·7· · · · ·A.· ·Yes, ma'am.· He was violent, yes, ma'am.
·8· ·he smoked it before.                                     ·8· · · · ·Q.· ·He was violent toward you?
·9· · · · ·Q.· ·Okay.                                         ·9· · · · ·A.· ·Yes, ma'am.
10· · · · ·A.· ·I want to say, like, crack -- whatever        10· · · · ·Q.· ·Did he hit you?
11· ·is, like, the hard rock (Witness indicating.)· He        11· · · · ·A.· ·Yeah.· Yes, ma'am.
12· ·sold that.· The powder, coke, he sold that.· He sold     12· · · · ·Q.· ·The other follow-up question is kind of
13· ·weed.· He sold the same pills that he would give us.     13· ·general, and it may have been different depending on
14· ·And I really think that's it.                            14· ·different times or different places, so just let me
15· · · · ·Q.· ·Okay.· All right.                             15· ·know.
16· · · · · · · MS. RICHENS:· Why don't we take a             16· · · · · · · But I kind of want to know, like, when
17· · · · break, please.                                      17· ·a -- let's say when -- when it was time for a play
18· · · · · · · THE VIDEOGRAPHER:· This is the end of         18· ·and you were in a room, I mean, how did that happen?
19· · · · Media No. 2.· The time is 11:39 a.m., and           19· ·Was there someone -- would they send the play to the
20· · · · we are off the record.                              20· ·room, or he would know where to come?· Or can you
21· · · · · · · (Whereupon, the video camera was              21· ·kind of tell me how that would happen generally?· Or
22· · · · turned off.)                                        22· ·if it was different -- different times, let me know
23· · · · · · · (A short recess was taken.)                   23· ·that too.
24· · · · · · · (Whereupon, the video camera was              24· · · · ·A.· ·Could you just ask it one more time? I
25· · · · turned on.)                                         25· ·heard you, but just one more time.


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    Case 1:20-cv-05233-SEG                  Document 115-2               Filed 01/18/24          Page 15 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 78..81
                                                    Page 78                                                       Page 80
·1· · · · ·Q.· ·Yeah.· Yes.                                   ·1· · · · ·A.· ·For King and Cash.
·2· · · · · · · So you are in a room expecting a play.        ·2· · · · ·Q.· ·Okay.
·3· · · · ·A.· ·(Witness indicating.)                         ·3· · · · ·A.· ·Yes, ma'am.
·4· · · · ·Q.· ·How does the play get to the room, or how     ·4· · · · ·Q.· ·Thank you.· I see now what you mean by
·5· ·does he know where to come?· How does he get into the    ·5· ·fifty-fifty.
·6· ·room?                                                    ·6· · · · ·A.· ·Yes, ma'am.
·7· · · · ·A.· ·Okay.· So, like, it did depend, but,          ·7· · · · ·Q.· ·Got it.
·8· ·like, if it was -- when I was with King, like, when      ·8· · · · · · · And when you had a -- when you would have
·9· ·you post the ad or whatever, it will say where you       ·9· ·a play in a car, was there a -- like, a particular
10· ·are at, but it won't have, like, the room number and     10· ·place on the property you would go, or did it depend?
11· ·stuff.· So once the play is getting ready to come,       11· · · · ·A.· ·No, it wasn't actually.· It really
12· ·like, he will tell them, like, what room to come to,     12· ·depended on where the play wanted to park.· So where
13· ·or if there's no rooms available, like, where to park    13· ·they felt like they would be comfortable out in the
14· ·at or just park, you know, where you feel comfortable    14· ·parking lot, so whether that would be like the front,
15· ·because it depended on them too.                         15· ·wherever, by the lobby, like where they felt like,
16· · · · · · · And then, like, we'll meet them down in       16· ·you know, nothing would happen to them or whatever
17· ·their car.· It was really like that with Cash too,       17· ·the case may be.· Like, whether it's the front or
18· ·honestly.· The play didn't get the room number until,    18· ·whether they felt safer in the back, it -- it really
19· ·like, they said they were at the United Inn or           19· ·just depended on the play.
20· ·whatever, and then they would just post the room         20· · · · ·Q.· ·Okay.· And how would that work?· Would a
21· ·number.                                                  21· ·play know it was going to be a -- a car play when
22· · · · ·Q.· ·So they would give the -- the play the        22· ·they arrived?
23· ·room number.· And how -- they would just come and        23· · · · ·A.· ·Sometimes, yes.· Because when King used
24· ·knock on the door?· The play would come and knock on     24· ·to post for us, like, he will, like, specify that,
25· ·the door, or how would they get in the room?             25· ·like, car play or, um -- I can't think of, like, the

                                                    Page 79                                                       Page 81
·1· · · · ·A.· ·Yeah, they would knock on the door.           ·1· ·other word, but, like, where they will come in.
·2· · · · ·Q.· ·Okay.· How many times did you have a play     ·2· · · · ·Q.· ·Okay.
·3· ·in a -- in a car at the United Inn?                      ·3· · · · ·A.· ·So, like, sometimes, yeah, like, they
·4· · · · ·A.· ·It was like a fifty-fifty thing.· Like,       ·4· ·knew beforehand it's going to be done in a car here,
·5· ·when there's no room, it's a car play.· The United       ·5· ·though.· And then sometimes it wasn't supposed to
·6· ·Inn, like, the way that it looked -- like even in the    ·6· ·have been the car play, but when they seen, like,
·7· ·day, like, at day or night, like, you know, it looks     ·7· ·the -- the hotel, that's what they requested.· They
·8· ·unsafe.· So some of the plays would come, and they       ·8· ·didn't want to come in the room.· They would rather
·9· ·wouldn't want to come into the room because of, like,    ·9· ·do it in their car.
10· ·the type of people that were around the hotel or,        10· · · · ·Q.· ·Okay.· So you mentioned earlier this
11· ·like, what was going on.· So they would say, like,       11· ·morning, I believe, Ms. Grimes, we were talking
12· ·they would feel more comfortable if we came to the       12· ·generally about walking around on the property.
13· ·car, so we came to them.· So it was like a               13· · · · · · · Okay?
14· ·fifty-fifty thing.                                       14· · · · · · · And so I want to ask you some questions
15· · · · ·Q.· ·Okay.· So let me -- let me ask again.· If     15· ·about that.
16· ·you know, I mean, was it five times?· Ten times?· I'm    16· · · · ·A.· ·Uh-huh.
17· ·just trying to get a number if you know how many         17· · · · ·Q.· ·And we're -- again, of course, we're
18· ·times you had a play in a -- in a car.                   18· ·talking just about the United Inn.
19· · · · ·A.· ·So if I made 12 plays a day, I would say      19· · · · · · · Okay?
20· ·I had six plays in a car.                                20· · · · ·A.· ·Yes, ma'am.
21· · · · ·Q.· ·Okay.                                         21· · · · ·Q.· ·Okay.· So am I correct that there were
22· · · · ·A.· ·A day.                                        22· ·occasions you -- you had to walk around on the
23· · · · ·Q.· ·Okay.· And that was consistent for all --     23· ·property?
24· · · · ·A.· ·Yes, ma'am.                                   24· · · · ·A.· ·Yes, ma'am.
25· · · · ·Q.· ·-- the whole time?                            25· · · · ·Q.· ·Okay.· Can you tell me generally when


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    Case 1:20-cv-05233-SEG                  Document 115-2               Filed 01/18/24          Page 16 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 82..85
                                                    Page 82                                                       Page 84
·1· ·that would be or what -- for what purpose?· Why were     ·1· · · · ·A.· ·(Witness indicating.)
·2· ·you walking around on the property?                      ·2· · · · ·Q.· ·Okay.· When you're -- when you're
·3· · · · ·A.· ·So when I was, like, walking around when      ·3· ·doing -- and I'm going to call it "strolling."
·4· ·I was with King, he didn't, like, make us walk the       ·4· · · · · · · Is that okay?
·5· ·property to find plays.· Like, majority of the time,     ·5· · · · ·A.· ·(Witness indicating.)
·6· ·he already had our plays for us, like, from the ads      ·6· · · · ·Q.· ·So we know what we're talking about.
·7· ·or something like that.· But -- so when we would walk    ·7· · · · · · · When you're strolling, were you by
·8· ·around, it would be to -- because --                     ·8· ·yourself?
·9· · · · · · · I don't know if you know this, but the        ·9· · · · ·A.· ·No.· It was -- Cash didn't, like, let us
10· ·hotel, like, they have, like, a store inside the         10· ·go outside by ourself, nor did King, honestly, but it
11· ·hotel.· So, like, we'll go down and buy stuff because    11· ·would always be Mini and another man.· So it would
12· ·they had like food, hygiene personal -- like, they       12· ·always be me and Mini and another one of Cash's
13· ·had everything.· So it would be to go to purchase,       13· ·associates, but it was never just, like, me or just
14· ·like, soap, condoms, noodles, whatever, like, gum,       14· ·her or like that.
15· ·toothpaste, stuff like that.· Say, we needed to          15· · · · ·Q.· ·There was always one of these men, who
16· ·switch our towels or something or the bedsheets but      16· ·were Cash's associates, with you?
17· ·the housekeeper ladies are gone, we would have to go     17· · · · ·A.· ·(Witness indicating.)
18· ·to the front -- so down to do that.                      18· · · · ·Q.· ·And so what would you do?· You would just
19· · · · · · · And then when I was with Cash, it was         19· ·walk -- you would look for people to -- to approach?
20· ·the -- it was the same concept, but it was kind of       20· · · · ·A.· ·Yeah, like, I mean, basically, yeah, just
21· ·different because Cash, like, had -- he, like, made      21· ·like provocative.· Like, you're barely wearing
22· ·us, like, walk around to find plays too.· So at that     22· ·clothes.· You know, like, men are going to stop for
23· ·point, like, we were still going to the office and       23· ·that, like, you know, that was just that.· Like, you
24· ·stuff for what it was doing with King as well so,        24· ·really didn't even have to do nothing.· You would
25· ·like, purchasing things and switching out, you know,     25· ·just be there so they can see you, and they will come

                                                    Page 83                                                       Page 85
·1· ·towels and sheets, but we were actually, like,           ·1· ·like --
·2· ·outside, like, strolling, I guess that's what they       ·2· · · · ·Q.· ·Okay.· Was this during the day or at
·3· ·call it, walking around the property trying to, like,    ·3· ·night or some of each?
·4· ·find plays and stuff, or, like, we walked up Memorial    ·4· · · · ·A.· ·Some of each.
·5· ·Drive a couple of times.                                 ·5· · · · ·Q.· ·Okay.· And the clothes that you're
·6· · · · · · · Even with King, me and the baby mama, we      ·6· ·talking about, you said you barely had clothes on.
·7· ·walked across the gas -- to the gas station a couple     ·7· · · · · · · Can you describe what you were wearing
·8· ·of times to get stuff for all of us, but yeah.           ·8· ·and also tell me were -- were these your clothes or
·9· · · · ·Q.· ·So you used the term "strolling" to           ·9· ·the clothes that somebody provided to you?
10· ·describe when you're walking around on the property      10· · · · ·A.· ·No, because when I had went to the United
11· ·to look for plays.                                       11· ·Inn, I only had, like, one outfit, and that's what I
12· · · · ·A.· ·I mean, no, that's not what I would call      12· ·had on my body.· So...
13· ·it, but I know that is what, like, they -- the term      13· · · · ·Q.· ·I'm sorry.· You said when you went to the
14· ·that people use.                                         14· ·United Inn, you only had one outfit?
15· · · · ·Q.· ·The term people use.                          15· · · · ·A.· ·Yes.
16· · · · ·A.· ·Yes, ma'am.                                   16· · · · ·Q.· ·Okay.
17· · · · ·Q.· ·Okay.· What -- tell me what that              17· · · · ·A.· ·So -- and that's just, you know, like,
18· ·involves.· Like, what -- what is somebody doing when     18· ·what I had on when I had went.· So the -- everything
19· ·they're doing that?                                      19· ·else that I had got, it was provided or it was, like,
20· · · · ·A.· ·You're just, like, walking around.· Like,     20· ·another girl's clothes who was there, like --
21· ·you barely have clothes on.· You know, you look          21· · · · ·Q.· ·Okay.· So what -- like, what kinds of
22· ·provocative, like, and you just walk around and get      22· ·clothes would that be when -- if you -- when you're
23· ·attention, and that's how that was.                      23· ·strolling?
24· · · · ·Q.· ·And that's something you did when you         24· · · · ·A.· ·It would be, like, off-the-shoulder tops,
25· ·were working for Cash?                                   25· ·crop tops, tank tops, jumpsuits.· Well, that's not


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    Case 1:20-cv-05233-SEG                  Document 115-2               Filed 01/18/24          Page 17 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 86..89
                                                    Page 86                                                       Page 88
·1· ·what you call it now.· Like, two-piece sets.             ·1· ·the United Inn.
·2· · · · ·Q.· ·Uh-huh.                                       ·2· · · · ·A.· ·So every day they have housekeeping.
·3· · · · ·A.· ·Like, leggings, just stuff like that.         ·3· ·It's like that for any hotel, I believe.· So every
·4· ·Like, we barely had clothes on, though.                  ·4· ·day a housekeeper do come to the room.· Sometimes
·5· · · · ·Q.· ·Okay.· How many times -- I'm sorry if I       ·5· ·we'll allow them to clean the room, and then
·6· ·asked you this before, but I don't believe I did.        ·6· ·sometimes we'll clean the room ourselves.
·7· · · · · · · How many times did you do this strolling      ·7· · · · ·Q.· ·Can I ask you a question about that?
·8· ·with -- at the United Inn?                               ·8· · · · ·A.· ·Uh-huh.
·9· · · · ·A.· ·Like, a day?                                  ·9· · · · ·Q.· ·Is this like a -- you know, sometimes you
10· · · · ·Q.· ·Did you do it every day?                      10· ·go -- well, usually, I think when you go to a
11· · · · ·A.· ·Yeah.                                         11· ·hotel --
12· · · · ·Q.· ·Okay.                                         12· · · · ·A.· ·Uh-huh.
13· · · · ·A.· ·Honestly, when I was with Cash.               13· · · · ·Q.· ·-- housekeeping just kind of goes around
14· · · · ·Q.· ·Cash?· Okay.                                  14· ·and knocks on the door.
15· · · · ·A.· ·Yes, ma'am.                                   15· · · · · · · Is that what happened there?
16· · · · ·Q.· ·Okay.· I want to ask you now about any        16· · · · ·A.· ·Yes, ma'am.
17· ·interactions you had with people who worked at the       17· · · · ·Q.· ·And so sometimes you would let them in
18· ·United Inn.                                              18· ·and sometimes not?
19· · · · · · · Okay?                                         19· · · · ·A.· ·Yeah.· Like, sometimes we'll just clean
20· · · · ·A.· ·Uh-huh.                                       20· ·it ourselves, like...
21· · · · ·Q.· ·And I don't know if -- we need to break       21· · · · ·Q.· ·What would happen when they knocked?
22· ·it up by -- by the two times that you were there, but    22· · · · ·A.· ·We let them in.
23· ·let me just ask you generally -- or can you tell me      23· · · · ·Q.· ·Okay.· But there was some times when they
24· ·generally what encounters you had with people who        24· ·knocked and you just didn't let them in or?
25· ·worked at the hotel?                                     25· · · · ·A.· ·Uh-huh.

                                                    Page 87                                                       Page 89
·1· · · · ·A.· ·We had encounters -- well, I had              ·1· · · · ·Q.· ·Okay.
·2· ·encounters with housekeeping and then the front desk     ·2· · · · ·A.· ·Like, we'll just do it ourselves.
·3· ·staff.· They really didn't have, like, too many          ·3· · · · ·Q.· ·Okay.
·4· ·different types of staff.· Those really were, like,      ·4· · · · ·A.· ·But we still had to, like, get the
·5· ·the only two staff that they had.· Like, the             ·5· ·supplies and stuff from them.· But, like, we will
·6· ·housekeeping and then the people who, I guess, own       ·6· ·tell them, like, "We can clean it ourselves.· Like,
·7· ·the hotel or work for the hotel.                         ·7· ·you don't have to clean it.· We can clean it."· But
·8· · · · ·Q.· ·You're saying that's pretty much all          ·8· ·we still used their supplies and stuff.
·9· ·there was in terms of people who worked there.           ·9· · · · ·Q.· ·Would they -- so -- so if they came
10· · · · · · · Is that -- is that what you meant?            10· ·around, you would say, "We don't need you to come in,
11· · · · ·A.· ·Uh-huh.· Like, the housekeepers and then      11· ·but can we have some towels?"· or something -- is
12· ·the people who worked in the front.                      12· ·that what you're describing?
13· · · · ·Q.· ·Okay.                                         13· · · · ·A.· ·No, not necessarily -- I mean, no, not
14· · · · ·A.· ·Like, so they didn't really have, like,       14· ·really, like --
15· ·maintenance and -- I guess that was housekeeping too.    15· · · · ·Q.· ·Okay.
16· · · · ·Q.· ·Okay.· All right.                             16· · · · ·A.· ·-- so they'll come knock on the door --
17· · · · · · · And you had some interactions with            17· · · · ·Q.· ·Uh-huh.
18· ·housekeeping, and you had some interactions with the     18· · · · ·A.· ·And they -- let's just say, it's not that
19· ·front desk; is that right?                               19· ·dirty or something.· Like, if the room is dirty,
20· · · · ·A.· ·Yes, ma'am.                                   20· ·housekeeping will clean the room.· But if it's, like,
21· · · · ·Q.· ·Tell me, if you would -- we'll start with     21· ·not too much going on, like, it would be, like, we
22· ·housekeeping.                                            22· ·can -- we can clean the room.· So they will let us
23· · · · · · · Describe for me the -- the types of -- I      23· ·get the spray bottle, like the broom or whatever and,
24· ·don't know how many you had, but how many -- the         24· ·like, rags to wipe down stuff.
25· ·types of interactions you had with housekeeping at       25· · · · · · · They would always come in to, like, bring


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    Case 1:20-cv-05233-SEG                  Document 115-2               Filed 01/18/24          Page 18 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 90..93
                                                    Page 90                                                       Page 92
·1· ·us new towels and sheets to, like, sit them in, like,    ·1· · · · ·Q.· ·Okay.· Did you ever tell them what you
·2· ·the restroom and stuff.· They would always come in       ·2· ·were doing there?
·3· ·and change our sheets.                                   ·3· · · · ·A.· ·No.
·4· · · · · · · But, like, just cleaning the room, like,      ·4· · · · ·Q.· ·Did you ever ask any of them for help?
·5· ·they didn't always do that for us, no.· But we did       ·5· · · · ·A.· ·No.
·6· ·interact with housekeeping, like, every day.             ·6· · · · ·Q.· ·Did they -- did any of them ever ask you
·7· · · · ·Q.· ·Okay.                                         ·7· ·if you needed help?
·8· · · · ·A.· ·Well, I did.· I'm sorry.· I keep saying       ·8· · · · ·A.· ·No.
·9· ·"we."· I did.                                            ·9· · · · ·Q.· ·Okay.· And now let's talk, if -- if we
10· · · · ·Q.· ·Okay.· So what I hear you saying, and I       10· ·can, about -- I'm sorry.
11· ·want to make sure that I'm correct, so you said you      11· · · · · · · Do you know the names of any of the
12· ·interacted with housekeeping every day that they --      12· ·housekeeping staff that you interacted with?
13· ·that they regularly changed the sheets and towels,       13· · · · ·A.· ·Hu-huh.
14· ·but maybe -- may or may not have cleaned the room        14· · · · ·Q.· ·Were they men or women?
15· ·other than that?                                         15· · · · ·A.· ·They were women.
16· · · · ·A.· ·Hu-huh.· Not every day, no.                   16· · · · ·Q.· ·Okay.· Do you know, were they black or
17· · · · ·Q.· ·Okay.· Did they come in and change the        17· ·Indian or white or?
18· ·sheets and towels or just kind of hand you sheets and    18· · · · ·A.· ·I honestly don't even remember.
19· ·towels?                                                  19· · · · ·Q.· ·Okay.
20· · · · ·A.· ·Hu-huh.· They come in to do, like, that       20· · · · ·A.· ·I really want to say it was, like, a mix,
21· ·part.                                                    21· ·though.
22· · · · ·Q.· ·Okay.· And was it always the same             22· · · · ·Q.· ·A mix of people?
23· ·housekeeper, or were there different people at           23· · · · ·A.· ·Uh-huh.
24· ·different times?                                         24· · · · ·Q.· ·Okay.
25· · · · ·A.· ·No.· It was different people.                 25· · · · ·A.· ·None of them were white, though.· I do

                                                    Page 91                                                       Page 93
·1· · · · ·Q.· ·Did you ever have any conversations with      ·1· ·remember that, but, like, a mix between, like, black
·2· ·these housekeeping people?                               ·2· ·or Hispanic.
·3· · · · ·A.· ·Yeah, like, they're actually pretty cool.     ·3· · · · ·Q.· ·Okay.· Do you believe that when a
·4· ·Not like that, but yes, like, we did talk.               ·4· ·housekeeper came into the room at the United Inn, it
·5· · · · ·Q.· ·They were nice people?                        ·5· ·was obvious that the room was being used for sex
·6· · · · ·A.· ·Yes, ma'am.                                   ·6· ·trafficking?
·7· · · · ·Q.· ·Okay.· Like, what did you talk about?         ·7· · · · ·A.· ·Yes, I do, actually.
·8· · · · ·A.· ·It wasn't, like, conversations like that.     ·8· · · · ·Q.· ·Okay.· And tell me why.
·9· ·It would just be, like, about, like, cleaning the        ·9· · · · ·A.· ·Because it was, like, blatant.· Like, the
10· ·room or something.· Like, we need new towels.· They      10· ·way Cash and King kind of -- like, they were, like,
11· ·might -- like, I don't -- they used to try to be         11· ·cool with everybody who worked up there.· So it was,
12· ·funny.· Like, we would be like, we need new towels or    12· ·like, nobody was scared when, like, the
13· ·something.· Like, y'all just had new -- like, just       13· ·housekeeper -- like, I feel like one maid -- when
14· ·little stuff like that, but it was never, like, we       14· ·housekeeping come, you may try to hide drugs.· You
15· ·were, like, actually, like -- like, really               15· ·may try to hide guns.· You may try to hide the
16· ·conversating about stuff.· It was just, like, stuff      16· ·condoms.· Like, you know, like, stuff like that, the
17· ·about the room and stuff like towels or sheets.          17· ·sheets, the towels.
18· · · · ·Q.· ·So you had pleasant conversations with        18· · · · · · · Like, it wasn't like that, though.· Like,
19· ·them about the room or needing to be cleaned or          19· ·when housekeeping came, nothing changed.· Like, how
20· ·something, but -- but nothing other than that?           20· ·the room was before, that's how the room still looked
21· · · · ·A.· ·No.· They really didn't -- really talk        21· ·when they entered the room.
22· ·about nothing for real.                                  22· · · · · · · So Cash sold drugs and stuff.
23· · · · ·Q.· ·Okay.· Did any -- anybody at housekeeping     23· ·Housekeeping may come, it may be, like, drugs
24· ·ever ask you what you were doing there?                  24· ·scattered all on the desk or something because he's
25· · · · ·A.· ·No.                                           25· ·getting ready to re-up or stuff like that.· Condoms


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    Case 1:20-cv-05233-SEG                  Document 115-2               Filed 01/18/24          Page 19 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                               Pages 94..97
                                                    Page 94                                                       Page 96
·1· ·in the trash.· Like, I don't know.· I feel like          ·1· ·purchase, like, condoms, toothbrush, toothpaste,
·2· ·guns -- me personally, I just feel like it was kind      ·2· ·tampons, Tylenol.· They sold medicine and stuff too,
·3· ·of common sense, but, you know.                          ·3· ·Tylenol, like stuff like that.
·4· · · · ·Q.· ·And I want to make sure I understand what     ·4· · · · · · · And then with Cash, it was we went to the
·5· ·you're describing.                                       ·5· ·front desk -- oh, same with King too -- like, to
·6· · · · · · · Are you saying that when housekeeping was     ·6· ·trade out towels and stuff, but that's only when,
·7· ·coming, that Cash and King didn't -- didn't scurry       ·7· ·like, housekeeping was off duty at the time.· So,
·8· ·around and hide things.                                  ·8· ·like, say, they came around already and it's kind of
·9· · · · · · · Is that what you mean?                        ·9· ·later in the day now, so we'll have to go to the
10· · · · ·A.· ·Yeah.· Like, what you probably would          10· ·front to, like, trade out our towels and stuff or
11· ·expect that they would be doing, like, that's not        11· ·sheets and -- yeah.
12· ·what happened.· Like, they didn't bother to hide         12· · · · · · · And then with Cash, it was the same
13· ·nothing.· Like, they didn't care.                        13· ·thing, purchasing items from there, trading out our
14· · · · ·Q.· ·Did you ever see Cash or King or any of       14· ·sheets and stuff.· And then I actually, like, seen
15· ·Cash's associates or anybody that we're talking about    15· ·Cash, like, buy the rooms, so we used to, like, come
16· ·give any money to any of the housekeeping people?        16· ·with him to buy the room too.· So we were up there
17· · · · ·A.· ·Not the housekeeping people, but a front      17· ·when he did that.
18· ·lady -- a front desk lady.· It was a black lady.         18· · · · · · · And that's all -- like, I didn't, you
19· ·Cash used to pay her, like, money or drugs because       19· ·know, really go to the front desk for anything else.
20· ·she used to buy drugs from him too.                      20· · · · ·Q.· ·How many times would you say -- did you
21· · · · ·Q.· ·Okay.                                         21· ·go to the front desk every day?
22· · · · ·A.· ·Like, whichever one.                          22· · · · ·A.· ·Yeah, this was, like, an everyday thing.
23· · · · ·Q.· ·Okay.· So I'm going to -- let me get          23· · · · ·Q.· ·Okay.· And would you go by yourself, or
24· ·to -- I will get to that.· Thank you for flagging        24· ·would you go with somebody?
25· ·that.                                                    25· · · · ·A.· ·Sometimes, there was times I went by

                                                    Page 95                                                       Page 97
·1· · · · ·A.· ·Okay.                                         ·1· ·myself.· Like, to trade the towels or something, I
·2· · · · ·Q.· ·But no -- nobody in housekeeping, you         ·2· ·went by myself.· If I'm about to buy a condom or
·3· ·never saw?                                               ·3· ·something, I went by myself.· You know, like, just if
·4· · · · ·A.· ·Yeah, I've never seen him, like, pay          ·4· ·I'm purchasing things from down there, like, things
·5· ·housekeeping or nothing.                                 ·5· ·that we needed, I will go by myself.
·6· · · · ·Q.· ·Okay.· Did you ever hear Cash or his          ·6· · · · · · · With -- with Cash, it was -- so that was
·7· ·associates or King ever talk to anybody at               ·7· ·with King, like if I needed to go get something, he
·8· ·housekeeping about what was going on in the rooms?       ·8· ·would let me go by myself.
·9· · · · ·A.· ·No.                                           ·9· · · · · · · With Cash, it wasn't -- it was always me
10· · · · ·Q.· ·Okay.· Now, I want to talk to you, if I       10· ·and somebody else.· So me and Mini; or me, Mini, and
11· ·may, about the front desk.                               11· ·an associate.· Like, I wasn't by myself with Cash.
12· · · · ·A.· ·Okay.                                         12· · · · ·Q.· ·Was it ever just you and Mini?
13· · · · ·Q.· ·So -- so tell me -- you've talked about       13· · · · ·A.· ·Going to the front desk?
14· ·it a little bit, but kind of give me high level, if      14· · · · ·Q.· ·Yes.
15· ·you would, why you would have occasion to go to          15· · · · ·A.· ·Yeah, like, to go -- because they got a
16· ·that -- to that office up front.· Is that what --        16· ·vending machine right there too so, like, yeah, we'll
17· ·when you say front desk, is that what you're talking     17· ·go to the vending machine.· It was right in front of
18· ·about?                                                   18· ·the front desk.· Yeah.· I feel like we had to -- I
19· · · · ·A.· ·Uh-huh.                                       19· ·don't know if that was me and Mini or that was just
20· · · · ·Q.· ·Why would you be going to the front desk      20· ·me.· It was me and Mini.· We had to go get a key
21· ·when you were at the United Inn?                         21· ·recharged too, because back then, like, if you put
22· · · · ·A.· ·With King, if I was going to the front        22· ·your key by your phone, the key stopped working, so
23· ·desk, it was to purchase, like, purchase things.· So     23· ·we had to go get keys recharged too a couple of times
24· ·like I said, they sold, like, personal hygiene, food,    24· ·for the room.
25· ·like, everything you would need.· So it would be to      25· · · · ·Q.· ·Okay.· Did you -- was it the same person


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    Case 1:20-cv-05233-SEG                  Document 115-2               Filed 01/18/24          Page 20 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                             Pages 98..101
                                                    Page 98                                                      Page 100
·1· ·or people working at the front desk?                     ·1· ·would come to our room, like, and buy drugs from
·2· · · · ·A.· ·Yes.· So it was, like -- like, it was         ·2· ·Cash.
·3· ·like a group of them.                                    ·3· · · · ·Q.· ·Okay.· Okay.
·4· · · · ·Q.· ·Uh-huh.                                       ·4· · · · · · · So like I said, he -- she would give him
·5· · · · ·A.· ·But, like, they would rotate out, though.     ·5· ·money and he would give her drugs?
·6· ·So, like -- but it would always be, like, the same       ·6· · · · ·A.· ·Yes.· I witnessed it --
·7· ·group of people, though.                                 ·7· · · · ·Q.· ·Okay.
·8· · · · ·Q.· ·Okay.                                         ·8· · · · ·A.· ·-- it was an exchange.
·9· · · · ·A.· ·But I guess it just depends on, like, the     ·9· · · · ·Q.· ·Okay.· Did you ever get to know her name?
10· ·date or the time of, like, who was in the office, but    10· · · · ·A.· ·No.· I just got, like, she was a
11· ·it was always multiple of them in office too.· It was    11· ·skinny -- she was really skinny, an older black lady.
12· ·never just one of them working and, like, you would      12· ·She was older.
13· ·go up to the office, there would be, like, three of      13· · · · ·Q.· ·And you said you had seen -- she did work
14· ·them back there, but I guess they like, you know,        14· ·at the front desk?
15· ·rotate out.                                              15· · · · ·A.· ·Yes, ma'am.
16· · · · ·Q.· ·Okay.· When you went to the front desk        16· · · · ·Q.· ·And -- what did I want to ask?
17· ·for any of these reasons at the United Inn, did --       17· · · · · · · Do you know what she was buying?
18· ·did anyone ever ask you what you were doing at the       18· · · · ·A.· ·So that's the thing, like, I don't know,
19· ·hotel?                                                   19· ·like, the exact difference between, like, the --
20· · · · ·A.· ·No.                                           20· ·like, I know what type of drugs he had, like ice, the
21· · · · ·Q.· ·Okay.· Did anyone -- did you ever tell        21· ·hard rock, and then, like, the soft powder, like,
22· ·anyone?                                                  22· ·coke or whatever.· But like, two of them looked
23· · · · ·A.· ·No.                                           23· ·similar, but they're like two different names.· So,
24· · · · ·Q.· ·Did anyone ever ask you if you needed         24· ·like, I don't know because they're both rocks.· So I
25· ·help?                                                    25· ·don't know if she was buying, like, ice or if she was

                                                    Page 99                                                      Page 101
·1· · · · ·A.· ·No.                                           ·1· ·buying crack.
·2· · · · ·Q.· ·Did you ever tell anyone you needed help?     ·2· · · · ·Q.· ·Some kind of rock as opposed to some kind
·3· · · · ·A.· ·No.                                           ·3· ·of pill --
·4· · · · ·Q.· ·Now, you mentioned a few minutes ago, and     ·4· · · · ·A.· ·Yeah.
·5· ·I told you we would come back to it, I think you said    ·5· · · · ·Q.· ·-- is that fair?
·6· ·that there was a black woman who --                      ·6· · · · ·A.· ·Yes, ma'am.
·7· · · · ·A.· ·Uh-huh.· She used to buy drugs from Cash,     ·7· · · · ·Q.· ·Okay.· Did anyone who worked at the hotel
·8· ·or, like, Cash would pay her sometimes for the rooms.    ·8· ·ever ask you how old you were?
·9· · · · ·Q.· ·What do you mean -- I'm sorry.                ·9· · · · ·A.· ·No.
10· · · · · · · So who -- there was a black woman at the      10· · · · ·Q.· ·Have you, in the last half hour or so as
11· ·front desk?                                              11· ·we have been talking, told me all of your
12· · · · ·A.· ·Uh-huh.                                       12· ·interactions with people who worked at the -- who
13· · · · ·Q.· ·Was -- was she working at the front desk?     13· ·worked at United Inn & Suites?
14· · · · ·A.· ·Yes, ma'am.                                   14· · · · ·A.· ·Yeah, like with housekeeping.
15· · · · ·Q.· ·Okay.· And she would buy drugs from Cash?     15· · · · ·Q.· ·We talked about housekeeping, and then we
16· · · · ·A.· ·Yeah, I seen her, like, come to the room      16· ·talked about the front desk.
17· ·a couple of times and buy drugs from Cash.               17· · · · ·A.· ·Uh-huh.
18· · · · ·Q.· ·So what did you actually see taking place     18· · · · ·Q.· ·Are there any --
19· ·with her and him?                                        19· · · · ·A.· ·Because those were the only staff.
20· · · · ·A.· ·What do you mean?                             20· · · · ·Q.· ·Okay.· So we have covered everything?
21· · · · ·Q.· ·You said she bought drugs from Cash.          21· ·Your inter- -- your general inter- -- your
22· · · · ·A.· ·Uh-huh.                                       22· ·interactions with people who worked at the hotel?
23· · · · ·Q.· ·So did you literally see him hand her         23· · · · ·A.· ·I mean, I would interact with them every
24· ·drugs and she gave him cash?                             24· ·day, but it was, like, the same people, though, so --
25· · · · ·A.· ·Yeah, like I would be in the -- like, she     25· ·but we interacted every day.· Like, the black lady,


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    Case 1:20-cv-05233-SEG                  Document 115-2               Filed 01/18/24          Page 21 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                            Pages 102..105
                                                   Page 102                                                      Page 104
·1· ·she used to -- like, when Cash would go buy rooms or     ·1· · · · ·Q.· ·Okay.
·2· ·something, say, they will say, like, a room is sold      ·2· · · · ·A.· ·It was always her telling Cash that
·3· ·out, because I told you he will, like, check in and      ·3· ·because he's the one who would be purchasing the
·4· ·check back out.                                          ·4· ·rooms.
·5· · · · ·Q.· ·Right.                                        ·5· · · · ·Q.· ·And how do you know that she told Cash
·6· · · · ·A.· ·Like, he never -- never, like, had just a     ·6· ·that?
·7· ·set room how King had, like, a set room.· So she         ·7· · · · ·A.· ·I witnessed it --
·8· ·would be, like, sometimes you can't check in before a    ·8· · · · ·Q.· ·Okay.
·9· ·certain time at a hotel, like you're just not            ·9· · · · ·A.· ·-- a couple of times.· She did it a
10· ·supposed to.· Cash would pay her extra, and she would    10· ·couple of times.
11· ·give him the key to the room.                            11· · · · ·Q.· ·Okay.· And so tell me, like, where that
12· · · · · · · What else?· What else?                        12· ·happened.· You know, like, you witnessed -- if I'm
13· · · · · · · Like, she used to -- we had, like, a room     13· ·hearing you correctly, you witnessed her telling Cash
14· ·on the end hall, but really, she did this with, like,    14· ·there's too much traffic in there.
15· ·two of the rooms we had, though.· Like, she will tell    15· · · · ·A.· ·So, like, she called the hotel phone a
16· ·us if we -- and she really worked night shift too.       16· ·couple of times.· Like, our room -- you can call the
17· ·That's really when she used to work, night shift.        17· ·room from the lobby.· She's called our room a couple
18· · · · ·Q.· ·Is this the -- the black lady that you're     18· ·of times and told us like, "We're watching.· You're
19· ·talking about?                                           19· ·having too much traffic.· Okay?"
20· · · · ·A.· ·But it -- yes, the black lady.                20· · · · · · · At one point she told him to, like, come
21· · · · ·Q.· ·Okay.                                         21· ·up to the front desk, but it was me, Mini and him.
22· · · · ·A.· ·But it would like roll over to the day        22· ·She told him the same thing, "You're having too much
23· ·sometimes too, but really worked night shift.            23· ·traffic."· She suggested that he switch rooms.
24· · · · · · · So, like, she will tell us -- say, we're      24· · · · · · · Like, those are the only two times I --
25· ·having too much traffic coming in and out of the room    25· ·I've, like, witnessed her do something like that, but

                                                   Page 103                                                      Page 105
·1· ·because Cash sold drugs and then what we were also       ·1· ·she did that a couple of times, though.
·2· ·doing.· So, like, she would warn him, you know, like,    ·2· · · · ·Q.· ·Okay.· So the time that you said she
·3· ·"You" -- "you have too much traffic coming in and out    ·3· ·called the room --
·4· ·of your room.· I suggest that" -- like, at one point,    ·4· · · · ·A.· ·Uh-huh.
·5· ·she suggested that we switch rooms because we had a      ·5· · · · ·Q.· ·-- you didn't talk to her?
·6· ·room at end.· Like, it was the end hall upstairs, and    ·6· · · · ·A.· ·No.· But you can hear her on the phone,
·7· ·she suggested that we switch rooms.· So that's           ·7· ·though.· Yes, it's the room phone.· You know, you put
·8· ·exactly what we did; we switched rooms.· Just, like,     ·8· ·the phone on speaker.
·9· ·stuff like that.                                         ·9· · · · ·Q.· ·Okay.
10· · · · ·Q.· ·Did you hear that conversation yourself?      10· · · · ·A.· ·Yes, ma'am.· So...
11· · · · ·A.· ·Yes, ma'am.· Like, she would call.· Like,     11· · · · ·Q.· ·So you heard her on speaker.
12· ·it's too much traffic, like -- or, like, she would       12· · · · · · · And what did she say?
13· ·tell him to, like, come to the front office.· We         13· · · · ·A.· ·Like, "We are watching you and there's
14· ·would go to the front office and say the same thing,     14· ·too much traffic.· Like, we're watching that you're
15· ·like, it's too much traffic.· Like, we are -- we are     15· ·having too much traffic.· Basically, like, keep it
16· ·seeing all of these people, you know, like, coming       16· ·down.· Okay?"
17· ·and out of the room, like, okay, stuff like that.· So    17· · · · · · · The second time that she had called him
18· ·we switched room.                                        18· ·to the room -- I'm sorry, when she had called him to
19· · · · ·Q.· ·So when she called, I mean, did you talk      19· ·the lobby or whatever, it was me and Mini who had
20· ·to her yourself?                                         20· ·went with him.· It was him too as well, though.· So
21· · · · ·A.· ·No.· Like, I never spoke to her about         21· ·it was the three of us who had went up there.· And
22· ·stuff like that.· I have spoke to her a couple times     22· ·then she told him the same thing like, you're --
23· ·just, like, regularly speaking, like -- but it was       23· ·there's way too much traffic.· And then this time,
24· ·never, like, her telling me, like, "Oh, yeah, y'all      24· ·she suggested that he switched rooms.· So that's what
25· ·have too much traffic."· She never told me that.         25· ·we did; we switched rooms.


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    Case 1:20-cv-05233-SEG                  Document 115-2               Filed 01/18/24          Page 22 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                            Pages 106..109
                                                   Page 106                                                      Page 108
·1· · · · · · · And then --                                   ·1· ·supposed to?
·2· · · · ·Q.· ·Do you know why she was suggesting that?      ·2· · · · ·A.· ·Yes.· So money on top of what the room
·3· · · · ·A.· ·It was too much traffic.                      ·3· ·was.
·4· · · · ·Q.· ·Okay.                                         ·4· · · · ·Q.· ·I see.
·5· · · · ·A.· ·She --                                        ·5· · · · ·A.· ·Yes.
·6· · · · ·Q.· ·But what would switching rooms do?· What      ·6· · · · ·Q.· ·I see.
·7· ·would be the point switching rooms?                      ·7· · · · · · · MS. RICHENS:· Can we go off the
·8· · · · ·A.· ·I guess so it's not, like, so much            ·8· · · · record, please?
·9· ·traffic coming out of that one room.· Like, so you       ·9· · · · · · · THE VIDEOGRAPHER:· The time is
10· ·switch rooms, I guess.                                   10· · · · 12:31 p.m., and we are off the record.
11· · · · ·Q.· ·Just kind of mix it up a bit?                 11· · · · · · · (Whereupon, the video camera was
12· · · · ·A.· ·Yeah, so it's not, like, just one room        12· · · · turned off.)
13· ·having so much traffic.· It's multiple rooms having      13· · · · · · · (A short recess was taken.)
14· ·traffic, if that makes sense.                            14· · · · · · · (Whereupon, the video camera was
15· · · · ·Q.· ·And was the traffic from selling drugs?       15· · · · turned on.)
16· · · · ·A.· ·No.· It was from both.                        16· · · · · · · THE VIDEOGRAPHER:· This is the
17· · · · ·Q.· ·From drugs and from traffic -- sex            17· · · · beginning of Media No. 4.· The time is
18· ·trafficking?                                             18· · · · 1:24 p.m., and we are on the record.
19· · · · ·A.· ·Honestly, everybody had traffic coming in     19· ·BY MS. RICHENS:
20· ·and out of their rooms at the United Inn, though.        20· · · · ·Q.· ·Good afternoon, Ms. Grimes.
21· ·But, like, Cash, yeah, it was like -- it was bad,        21· · · · ·A.· ·Good afternoon.
22· ·though, because not only was it, like, sexual; it's      22· · · · ·Q.· ·A few follow-up questions on things we
23· ·you're selling drugs as well.· So it's, like, two        23· ·talked about this morning.
24· ·different types of -- you know, like, it was just in     24· · · · · · · We had some discussion about the
25· ·and out, in and out, in and out, yeah.                   25· ·occurrence when Cash was arrested at the United Inn

                                                   Page 107                                                      Page 109
·1· · · · ·Q.· ·Okay.· Other than this lady that you're       ·1· ·in November.
·2· ·talking about, did you ever see any money exchange       ·2· · · · ·A.· ·Yes, ma'am.
·3· ·hands between, you know, your traffickers and their      ·3· · · · ·Q.· ·Other than that, were you ever present
·4· ·associates and anybody that worked at the hotel?         ·4· ·for any police activity at the United Inn?
·5· · · · ·A.· ·Like, did I ever see them give money to       ·5· · · · ·A.· ·Yes.· Well, not the police, but the
·6· ·the people at the hotel?                                 ·6· ·ambulance had came out because Cash had, like, beat
·7· · · · ·Q.· ·Correct.                                      ·7· ·Mini up in the room, and she called the ambulance.
·8· · · · ·A.· ·No.· Unless they're, like, paying for a       ·8· ·So they came to, like, look at her, and I was with
·9· ·room, like, no.                                          ·9· ·her because Cash had, like, left.
10· · · · ·Q.· ·Okay.· And with respect to the lady we're     10· · · · ·Q.· ·Okay.
11· ·talking about, the money you saw exchanging hands        11· · · · ·A.· ·So it was me and her, and they looked at
12· ·there was she was buying drugs?· She was giving --       12· ·her or whatever, and then that was it.· Like, they
13· ·she was giving Cash money and he -- he was giving her    13· ·didn't transport her or nothing like -- but, like,
14· ·drugs?                                                   14· ·other than that incident and then when he had got
15· · · · ·A.· ·That, but then there was a time when we       15· ·locked up, no.
16· ·had went to the front office and he had gave her         16· · · · ·Q.· ·Okay.· Did you ever see any security
17· ·money because we weren't supposed to check in.· So he    17· ·guards at the United Inn?
18· ·used to, like, pay her to, like, you know, like,         18· · · · ·A.· ·Yes.· They did use to have a security
19· ·allow us to, like, do stuff.· Like, so he gave her       19· ·guard, and he -- he had, like, a little car.· Like,
20· ·money because we were trying to check in, but they       20· ·he would park his car somewhere and, like, watch from
21· ·were telling us, like, no rooms were available.· We      21· ·the parking lot.· But I never seen, like, a security
22· ·cannot check in yet.· He paid her, and she gave us       22· ·guard for patrolling the -- what am I trying to say?
23· ·the key to the room.· So like that, like --              23· ·Like, actively, like, walking around.
24· · · · ·Q.· ·Okay.· He paid her money so that she          24· · · · · · · But they did have a security guard,
25· ·would give you the room key earlier than she was         25· ·though, because I remember seeing his car and he


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    Case 1:20-cv-05233-SEG                  Document 115-2               Filed 01/18/24          Page 23 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                            Pages 110..113
                                                   Page 110                                                      Page 112
·1· ·would sit in the front sometimes, like, in the           ·1· · · · ·A.· ·No.
·2· ·parking lot.                                             ·2· · · · ·Q.· ·Okay.· You just were -- you were just
·3· · · · ·Q.· ·Was it a marked car?· Like, a police car      ·3· ·there doing what you were doing, and you weren't
·4· ·or a security car or just an unmarked car of some        ·4· ·either trying to tell somebody or hide it.
·5· ·kind?                                                    ·5· · · · · · · Is that -- is that fair?
·6· · · · ·A.· ·No.· It was like a -- I guess, like, a        ·6· · · · ·A.· ·Like, yeah.· Like, at the time I wasn't,
·7· ·security car.· It was a cop car.                         ·7· ·like, thinking like that.· Like, I didn't even know I
·8· · · · ·Q.· ·Okay.                                         ·8· ·was, like, really being sex trafficked for real at
·9· · · · ·A.· ·But you could tell it was security,           ·9· ·the time.· Like, I didn't really notice what that was
10· ·though, if that makes sense.                             10· ·but -- so, no.· Like, I would go up there, like I
11· · · · ·Q.· ·Uh-huh.                                       11· ·wasn't trying to hide it.· Like, I would walk around
12· · · · · · · And sometimes parked in front?                12· ·how I was walking around, like, because that's how
13· · · · ·A.· ·Uh-huh.                                       13· ·everybody was, like nobody was hiding nothing.
14· · · · ·Q.· ·And was that there any particular time of     14· · · · ·Q.· ·Okay.
15· ·day or night?· Did you ever notice?                      15· · · · ·A.· ·So I didn't think I had to either.
16· · · · ·A.· ·Usually, he was out there at nighttime.       16· · · · ·Q.· ·Say the last part again.
17· ·That's really when we would see him, like nighttime.     17· · · · ·A.· ·I said nobody was hiding anything so I
18· · · · ·Q.· ·Did you ever talk to this person?             18· ·didn't, like, think I had to either.
19· · · · ·A.· ·Hu-huh.                                       19· · · · ·Q.· ·Got it.
20· · · · ·Q.· ·Did -- did you ever see a security guard      20· · · · · · · So based on that and based on what you
21· ·walking around the premises?                             21· ·told us about your interactions with the folks that
22· · · · ·A.· ·No.· See, now that's the part I'm saying,     22· ·were working at the front desk, do you think that
23· ·like, I don't remember -- I don't remember ever          23· ·those people -- do you have any reason to believe
24· ·seeing, like, someone, like -- well, a security          24· ·those people should have known that you were being
25· ·guard, like, patrolling it, but they did have a          25· ·sex trafficked?

                                                   Page 111                                                      Page 113
·1· ·security guard.                                          ·1· · · · ·A.· ·Yes.
·2· · · · ·Q.· ·Okay.                                         ·2· · · · ·Q.· ·Okay.· Tell me why.
·3· · · · ·A.· ·Because we would see his car.· Like, and      ·3· · · · ·A.· ·Just like the stuff that, like, went on
·4· ·you know he was in the car because, like, a little       ·4· ·up there, it was, like, common sense.· Me, I am
·5· ·light would be on, but that was like it.· I never,       ·5· ·walking around --
·6· ·like, seen him, you know.                                ·6· · · · · · · First of all, when I was out there, it
·7· · · · ·Q.· ·Yes, I understand.                            ·7· ·was cold as I don't know what's outside.· Like, I'm
·8· · · · ·A.· ·Yeah.                                         ·8· ·walking around with, like, no clothes on.· I didn't
·9· · · · ·Q.· ·Could you see was he -- if he was in          ·9· ·even own a jacket nor a coat.· Like, it was, I had no
10· ·uniform of any kind?                                     10· ·actual clothes to prepare for that season.
11· · · · ·A.· ·No.                                           11· · · · · · · Back then, I looked my age as well.
12· · · · ·Q.· ·Okay.                                         12· ·Like, I was supposed to have been in school at that
13· · · · ·A.· ·No.                                           13· ·time.· I was not in school, but I was supposed to
14· · · · ·Q.· ·Did -- I may have asked you this.             14· ·have been.· I'm up there for, like, weeks at a time
15· · · · · · · Did you ever speak to the security guard?     15· ·not going to school, like, sun up to sun down you see
16· · · · ·A.· ·No, I didn't.                                 16· ·me every day.· Any time of the day you see me.· Any
17· · · · ·Q.· ·Okay.· Before the lunch break,                17· ·time, like, I leave out, it's a man following us.
18· ·Ms. Grimes, we were talking about visits that you        18· ·Like, it was kind of like -- anytime I left out, it
19· ·made to the front desk.                                  19· ·was with a man or Mini and another guy.
20· · · · ·A.· ·Uh-huh.                                       20· · · · · · · When they will come, like, into the hotel
21· · · · ·Q.· ·When you did -- when you went to the          21· ·room -- well, housekeeping, when they'll like come to
22· ·front desk, were you -- I don't know how I want to       22· ·the doors or, like, come in the room, like, like I
23· ·ask this, but let me see how this works.                 23· ·said, like, everything was out.· So we'll have, like,
24· · · · · · · Were you trying to hide the fact that you     24· ·condoms in the trash.· We are always switching
25· ·were being sex trafficked?                               25· ·sheets.· Like, I don't -- we're always switching


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    Case 1:20-cv-05233-SEG                  Document 115-2               Filed 01/18/24          Page 24 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                            Pages 114..117
                                                   Page 114                                                      Page 116
·1· ·sheets.· We're always needing new towels and rags        ·1· · · · ·Q.· ·Did you have a feeling for who managers
·2· ·more than, like, a regular person would.                 ·2· ·were versus employees at -- at the hotel?
·3· · · · · · · Like, you see, like, girls in a room with     ·3· · · · ·A.· ·Yeah.
·4· ·all these men, like, it's -- look at them, look at       ·4· · · · ·Q.· ·Okay.
·5· ·us.· Like, that's really just how I feel they should     ·5· · · · ·A.· ·I feel like -- from what I have seen,
·6· ·know, like how we were walking around.· The traffic      ·6· ·like, personally, I feel like because I always seen
·7· ·that we had coming in and out, it was just a lot.        ·7· ·like the same group of people.· So, like, I came to
·8· ·Like, it was blatant, like, what was going on.           ·8· ·the conclusion, like, that is a family-owned hotel.
·9· · · · · · · But yeah, that's why I feel like they         ·9· ·Like, it's these same people.
10· ·should have known or that they did know.· We even --     10· · · · ·Q.· ·Okay.
11· ·one of the workers were, like, telling us, like, when    11· · · · ·A.· ·You know, and then it's not -- it's not
12· ·we had too much traffic, so, like, you know what's       12· ·like a mix of, like, different races or whatever.
13· ·going on because you're telling us we're having too      13· ·Like, the only different race was that black lady
14· ·much traffic, like.                                      14· ·that I seen and then, you know, like, the Hispanic
15· · · · ·Q.· ·And that's the lady that we talked about      15· ·housekeepers or whatever.· But other than that, it
16· ·before?                                                  16· ·was all, like, the same race working.
17· · · · ·A.· ·Uh-huh.· The black lady.                      17· · · · · · · And then the way that they even
18· · · · ·Q.· ·Okay.                                         18· ·interacted with each other, it was like -- it was
19· · · · ·A.· ·That's the one who, like, used to, like,      19· ·like given, like, y'all are husband or wife or, you
20· ·tell us stuff like that.                                 20· ·know, like stuff like that.· Like, that's how it came
21· · · · ·Q.· ·How old was she?· About how old would you     21· ·across, like, to me.· So...
22· ·say she was?                                             22· · · · ·Q.· ·Were they always speaking in English with
23· · · · ·A.· ·She was like -- I don't know if she           23· ·each other?· Did they always speak English with each
24· ·looked older or if she really was, like, older, but      24· ·other?
25· ·she was like a skinny black lady.· I really want to      25· · · · ·A.· ·No.· They -- they spoke another language

                                                   Page 115                                                      Page 117
·1· ·say, like, late 30s, early 40s, like, she was older.     ·1· ·too.
·2· · · · ·Q.· ·That's older?                                 ·2· · · · ·Q.· ·Okay.
·3· · · · ·A.· ·No.· I mean --                                ·3· · · · ·A.· ·But when they speak to us, yeah, it's
·4· · · · ·Q.· ·You're killing me here.                       ·4· ·English.
·5· · · · ·A.· ·No.· But I was 16 at the time, so, you        ·5· · · · ·Q.· ·All right.
·6· ·know, like, it was pretty old to me.                     ·6· · · · ·A.· ·It was English.
·7· · · · ·Q.· ·I'm teasing you.· I hear you.                 ·7· · · · ·Q.· ·Okay.· So other than the -- the lady we
·8· · · · · · · I thought you meant, like, 70?                ·8· ·have talked about now --
·9· · · · ·A.· ·No, no.                                       ·9· · · · ·A.· ·Uh-huh.
10· · · · ·Q.· ·Okay.· And do you know -- this lady that      10· · · · ·Q.· ·-- the, quote, older lady, was there --
11· ·you're talking about --                                  11· ·did -- and you've told us the conversations that she
12· · · · ·A.· ·Uh-huh.                                       12· ·had where she told you that you had too much traffic.
13· · · · ·Q.· ·-- do you recall, was she there during        13· · · · · · · Other than that, did you ever see or hear
14· ·the time that you were -- you were at United Inn in      14· ·anything that lead you to believe that anybody else
15· ·the fall the October/November?                           15· ·who worked at United Inn was -- was sort of in on it,
16· · · · ·A.· ·Uh-huh.                                       16· ·like helping the traffic- -- helping the traffickers?
17· · · · ·Q.· ·Was she still there in January?· Do you       17· · · · ·A.· ·Other than, like, just letting, like,
18· ·know?                                                    18· ·what was going on, like, slide, like, no.· Like, I
19· · · · ·A.· ·I actually don't recall ever seeing her       19· ·never, like, verbally heard or seen them, like, do
20· ·in January.                                              20· ·anything that would, like, help them out, I guess.
21· · · · ·Q.· ·Okay.· And so we've talked about that         21· ·But they, like, let it go on, so I feel like that was
22· ·lady.                                                    22· ·helping them out, like, but yeah.
23· · · · · · · Is there anyone else that -- well, let me     23· · · · ·Q.· ·Okay.
24· ·ask you this question.                                   24· · · · ·A.· ·I didn't, like -- yeah.
25· · · · ·A.· ·Uh-huh.                                       25· · · · ·Q.· ·Okay.· Do you know whether King or Cash


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    Case 1:20-cv-05233-SEG                  Document 115-2               Filed 01/18/24          Page 25 of 25

                          J.G. vs NORTHBROOK INDUSTRIES, INC., ET AL.
Confidential                            J.G.· ·on 02/08/2023                                            Pages 118..121
                                                   Page 118                                                      Page 120
·1· ·had trafficked women at United Inn previously?           ·1· ·actually doing at the Stone Mountain Inn in early
·2· · · · ·A.· ·King did.· But I only know this because,      ·2· ·2019?
·3· ·like, he -- like, he would say that.· Like -- like,      ·3· · · · ·A.· ·The same thing.· We were being trafficked
·4· ·he would talk about it.· That is how King made his       ·4· ·by Ronnie and Joc.
·5· ·money.· Like, Cash would sell drugs and do that.         ·5· · · · ·Q.· ·What's the other person's name?· Joc?
·6· ·King was more so, like, that is all he did,              ·6· · · · ·A.· ·Uh-huh.
·7· ·trafficked women.· Like, he had multiple girls.          ·7· · · · ·Q.· ·Okay.· And were you being trafficked?
·8· ·Like, that was what he did.                              ·8· · · · ·A.· ·Yes, ma'am.
·9· · · · · · · Like -- like, I told you one of the           ·9· · · · ·Q.· ·Okay.· And Chonty was as well?
10· ·girls -- well, besides the two that I was actually in    10· · · · ·A.· ·Yes, ma'am.
11· ·the room with, he had brought, like, another girl up     11· · · · ·Q.· ·And is this what prompted the lawsuit
12· ·there that worked for him and put her in the other       12· ·that -- that you filed against Stone Mountain Inn?
13· ·room, and then he introduced me to her.· That's the      13· · · · ·A.· ·No, it's not, actually.· I mean, it's
14· ·girl named Promise.· So I had met her.· That's the       14· ·part of it, yeah, but that's not, like, why I was --
15· ·only other girl, like, I had, like, physically, like,    15· ·no.
16· ·actually met, except for the two that I was with that    16· · · · ·Q.· ·But that's what the lawsuit was about?
17· ·worked for him.                                          17· · · · ·A.· ·Sex trafficking?
18· · · · · · · But, like, he talked about them all the       18· · · · ·Q.· ·Yes.
19· ·time.· Like, he would call them too -- like, they        19· · · · ·A.· ·Yes, ma'am.
20· ·would call him if, like, something was going wrong       20· · · · ·Q.· ·Okay.· And --
21· ·and stuff.· Like, he was in the room with us, we'll,     21· · · · ·A.· ·Oh, wait.· No, I misunderstood the
22· ·like, hear it.· But he used to talk about that,          22· ·question.
23· ·though.· Like, he was at the United Inn for a while      23· · · · · · · Yes, that's exactly what the lawsuit was
24· ·even before I had met him, he was already there for a    24· ·about, sex trafficking.
25· ·while.                                                   25· · · · ·Q.· ·Okay.· Okay.· And Chonty filed a lawsuit

                                                   Page 119                                                      Page 121
·1· · · · ·Q.· ·So let me get back to that, how do you --     ·1· ·against Stone Mountain Inn as well?
·2· ·how do you know that?                                    ·2· · · · ·A.· ·As well, yes, ma'am.
·3· · · · ·A.· ·Because that's what the baby mama and         ·3· · · · ·Q.· ·Okay.· Did you ever traffic Chonty
·4· ·them said too.· Like, he would say it, the baby mama     ·4· ·Clarke?
·5· ·said it, like, they were staying there for a minute.     ·5· · · · ·A.· ·No, I didn't.
·6· ·They were actually, like, living there.                  ·6· · · · ·Q.· ·And let me make sure I'm -- we haven't
·7· · · · ·Q.· ·Oh.· He and his baby mama?                    ·7· ·really identified the term.· But -- so --
·8· · · · ·A.· ·And then a sister, yeah.                      ·8· · · · · · · Did you ever make her available for sex
·9· · · · ·Q.· ·Okay.                                         ·9· ·for money?
10· · · · ·A.· ·When I had met them.                          10· · · · ·A.· ·No, I didn't.
11· · · · ·Q.· ·Okay.· Okay.· So I understand,                11· · · · ·Q.· ·Okay.· Did you -- have you ever done that
12· ·Ms. Grimes, just to move things along, that in early     12· ·with any -- any girl or women or boy?
13· ·2019, you were arrested for trafficking Chonty Clarke    13· · · · ·A.· ·No, I haven't.
14· ·at the Stone Mountain Inn; is that correct?              14· · · · ·Q.· ·Okay.
15· · · · ·A.· ·Well, that's what they said at first to       15· · · · ·A.· ·No.
16· ·try to hold me because they couldn't, like, hold me      16· · · · ·Q.· ·And what you said before is you believe
17· ·for nothing unless they said something like that, so     17· ·that -- tell me again why you think that accusation
18· ·yes, ma'am, that's what they said at first.              18· ·was made against you.
19· · · · ·Q.· ·Okay.· So -- fair enough.                     19· · · · ·A.· ·No.· I know that's why it made against
20· · · · · · · So let me ask you, and that was --            20· ·me.· It was actually said, like, they couldn't hold
21· ·because I want to ask you what -- what happened.         21· ·me so they had to put something against me, but if
22· · · · ·A.· ·Uh-huh.                                       22· ·you like -- I don't know if you know, but it's, like,
23· · · · ·Q.· ·I think that was March of 2019.               23· ·court documents, they actually ended up dropping
24· · · · · · · So what was -- what were you actually         24· ·every single charge against me, and Joc and Ronnie
25· ·doing at the United Inn -- excuse me, what were you      25· ·both ended up getting charged.· I was labelled a


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